                                                                                                                                    PRINTED: 03/27/2024
                                                                                                                                      FORM APPROVED
  Division of Health Service Regulation
  STATEMENT OF DEFICIENCIES             (X1) PROVIDER/SUPPLIER/CLIA          (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

                                                                                                                                             R
                                                                             B. WING _____________________________
                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
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                                                                                                                DEFICIENCY)


       V 000 INITIAL COMMENTS                                                V 000         10A NCAC 27G .0209 Medication
                                                                                           Requirements (V118)
               An annual, complaint, and follow up survey was
               completed on March 21, 2024. The complaints                                 Each client will be required to arrive
               were substantiated (NC#00212904 &                                           with signed physician's orders.
               NC#00212978). Deficiencies were cited.                                      Qualifying documents include:
                                                                                           Signed prescription copies, a
               This facility is licensed for the following service                         physician's signed letter, physician's
               category: 10A NCAC 27G .5200 Residential                                     signed OTC form, a prescription
               Treatment Camps for Children and Adolescents                                copy including a digital signature
               of all Disability Groups.                                                   accompanied by an individual
                                                                                           prescription number, and including
               This facility is licensed for 108 and currently has a                       the physician's DEA and NPI
               census of 20. The survey sample consisted of                                numbers, and digital signatures
               audits of 10 current clients, 9 former clients, and                         provided by the Trails consulting
               1 deceased client.                                                          psychiatrist via their individual
                                                                                           EHR/BestNotes LogIn.
       V 118 27G .0209 (C) Medication Requirements                           V 118         Enrollment paperwork will be
                                                                                           updated to include mandatory
               10A NCAC 27G .0209 MEDICATION                                               consent documents for the Trails
               REQUIREMENTS                                                                consulting psychiatrist completed
               (c) Medication administration:                                              prior to the client's admission,
               (1) Prescription or non-prescription drugs shall                            stating that the client's family agrees
               only be administered to a client on the written
                                                                                            to a mandatory appointment with
               order of a person authorized by law to prescribe
                                                                                           Trails consulting psychiatrist and
               drugs.
               (2) Medications shall be self-administered by
                                                                                           agrees to the additional fees
               clients only when authorized in writing by the
                                                                                           associated with the consultation, in
               client's physician.
                                                                                           case they fail to provide one of the
               (3) Medications, including injections, shall be                             above approved documents, fail to
               administered only by licensed persons, or by                                provide appropriate medication
               unlicensed persons trained by a registered nurse,                           supply during the client's stay, or if
               pharmacist or other legally qualified person and                            the client had a medication
               privileged to prepare and administer medications.                           adjustment request and the home
               (4) A Medication Administration Record (MAR) of
               all drugs administered to each client must be kept
               current. Medications administered shall be
               recorded immediately after administration. The
               MAR is to include the following:
               (A) client's name;
               (B) name, strength, and quantity of the drug;
Division of Health Service Regulation
LABORATORY DIRECTOR'S OR PROVIDER/SUPPLIER REPRESENTATIVE'S SIGNATURE                                       TITLE                               (X6) DATE


Jeremy Whitworth                                                                           Executive Director                         4/4/24
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 1                                            V 118         provider is unavailable for a
                                                                                           telehealth appointment.
               (C) instructions for administering the drug;                                Leading up to enrollment,
               (D) date and time the drug is administered; and                             Admissions will notify the client's
               (E) name or initials of person administering the
                                                                                           family of any needed
               drug.
                                                                                           documentation. Should the client
               (5) Client requests for medication changes or
               checks shall be recorded and kept with the MAR
                                                                                           arrive without appropriate
               file followed up by appointment or consultation
                                                                                           medication approval, admissions
               with a physician.                                                           will follow up with the family the
                                                                                           same day. If the client arrives
                                                                                           without prescriptions and the family
                                                                                           is unable to provide the needed
                                                                                           documentation, an appointment will
                                                                                           be scheduled with the Trails
                                                                                           consulting psychiatrist, to take place
                                                                                            within 48 hours.
               This Rule is not met as evidenced by:                                       Physician's orders will be followed
               Based on record reviews, observation and                                    as written. Any medication
               interviews, the facility failed to ensure that                              adjustment requests or reported
               medications were administered on the written                                side effects will be recorded on the
               order of a physician affecting 8 of 10 audited                              MAR and followed up with the
               current Clients (#2-6, #8, #9 and #11), 8 of 9                              client's family and a physician.
               audited Former Clients (FC #14-21) and 1 of 1                               Physician's orders will be reviewed
               audited Deceased Client (DC #1) and failed to
                                                                                           at the client's enrollment by
               keep MARs current for 8 of 10 audited current
                                                                                           Admissions and/or Health and
               Clients (#2-6, #8, #9 and #11) and 8 of 9 audited
               Former Clients (FC #14-21). The findings are:
                                                                                           Wellness. Prescriptions will be
                                                                                           reviewed by the Health and
               Review on 2/7/24 of DC #1's record revealed:
                                                                                           Wellness team weekly along with
               -                                                                           the client's MAR from the previous
                                                                                           shift.
                                                                                           All MARs will be kept current and
                                                                                           include the client's name,
                                                                                           medication name, strength, and
                                                                                           quantity of the drug;




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                                                                LAKE TOXAWAY, NC 28747
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 2                                            V 118         instructions for administering the
                                                                                           drug, date and time the drug is
                                                                                           administered, and the name or
                                                                                           initials of the person administering.
                                                                                           Each MAR will be dated correctly
                                                                                           for the associated week. Staff will
               Review on 2/9/24 of DC #1's MAR dated
                                                                                           include the medication name,
                             revealed:
                                                                                           strength, and quantity of the drug;
               -1 dose of                                                                  instructions for administering the
                                             was initialed by                              drug, date and time the drug is
               DC #1 and Lead Staff #1 as having been                                      administered, and the name or
               administered.                                                               initials of the person administering,
                                                                                           and the reason for administering the
               Review on 2/9/24 of the Trails Carolina                                      drug, for all approved Over the
               Medication Count Log for DC #1 dated                                        Counter medications and prescribed
                             revealed:                                                      PRN (as needed) medications.
               -Medications initialed as received by Lead Staff                            Training will be provided by Health
               #1 included:                                                                and Wellness staff (quarterly and
                                                                                           when review is needed), and
                                                                                           Consulting Physician's office
                                                                                           (quarterly) on all the necessary
               Review on 2/28/24 of the local hospital "Chain of                           information to include on the MAR.
               Custody/Evidence Release Form" and                                          All MARs will be reviewed by Health
               "Medication Log" for DC #1 signed by the local
                                                                                            and Wellness staff along with the
               pathologist dated 2/9/24 revealed:
                                                                                           Lead staff at the end of each shift to
               -Items of evidence included:
                                                                                            make sure all necessary
                                                                                           information has been included.
                                                                                           All Missed and Refused
               Review on 2/22/24 and 2/29/24 of Client #2's                                medications will be required to be
               record revealed:                                                            clearly labeled on the Client's MAR
                                                                                           as "Missed" and "Refused". There
                                                                                           will be corresponding Incident
                                                                                           Report (IR) and Pharmacy

               -No physicians' orders.

               Review on 2/29/24 of Client #2's MARs dated
                               revealed:
               -The following medications were initialed as
               administered:
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                                              MHL088-020                                                                                  03/21/2024
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                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 3                                            V 118         Notification/Recommendation
                                                                                           Forms. The IR will include details on
                                                                                            how the error occurred and the
                                                                                           follow-up action taken. The MAR
                                                                                           will reflect the pharmacy
                                                                                           recommendations received and
                                                                                           followed. Requiring the completion
                                                                                           of consent documentation for Trails
                                                                                           consulting psychiatrist at the client's
                                                                                            enrollment will lessen any previous
                                                                                           supply issues. Should the family not
                                                                                            respond to medication refill
                                                                                           requests within 7 days of a
                                                                                           medication being needed, an
                                                                                           appointment will be made with
                                                                                           Trails consulting psychiatrist to
                                                                                           prevent a lapse in the client's
               Review on 2/22/24 and 2/29/24 of Client #3's                                medication schedule. Staff will
               record revealed:                                                            continue to report all medication
                                                                                           errors at the time of the incident. A
                                                                                           pharmacist will be contacted for
                                                                                           recommendations on how to move
                                                                                           forward; recommendations will be
               -No physicians' orders.
                                                                                           followed by the lead staff and
                                                                                           reflected on the client's MAR.
               Review on 2/29/24 of Client #3's MARs dated
                                revealed:
                                                                                           Medication Errors are reviewed by
               -The following medications were initialed as
                                                                                           Health and Wellness on
               administered:
                                                                                           Wednesday, at the end of each
                                                                                           shift. All medication errors/IRs are
                                                                                           also reviewed by the leadership
                                                                                           team weekly during the Operations
                                                                                           Meeting.
                                                                                           *Please note that our creation of a
                                                                                           POC for this citation does not
                                                                                           indicate full agreement with
                                                                                           conclusions of the state report and
                                                                                           discrepancies will be addressed at
                                                                                           the scheduled informal
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                                                                500 WINDING GAP ROAD
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                                                                LAKE TOXAWAY, NC 28747
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 4                                            V 118          conference on April 23 at 1pm.
                                                                                           For example:
                                                                                           a) The medication counts presented
                                                                                            by the local pathologist on 2/9/24,
                                                                                           regarding
                                                                                           does NOT match the counts or
                                                                                           conversations had on 2/3/24 with
                                                                                           Trails staff, local law enforcement
                                                                                           and onsite M.E.
                                                                                           b) The claims referring to the
                                                                                           documentation system for students
                                                                                           missing medications due to lack of
               Review on 2/22/24 and 2/29/24 of Client #4's                                or slow parent, home physician,
               record revealed:                                                            insurance company or pharmacy
                                                                                           response was developed
                                                                                           collaboratively with and signed off
                                                                                           on by state surveyors in 2019 and
                                                                                           adhered to. Which the state is now
                                                                                           claiming is inadequate.
               -No physicians' orders.

               Review on 2/29/24 of Client #4's MAR dated
                                 revealed:
               -1 dose of       was initialed as administered on
                       with no documentation of the strength,
               quantity, or frequency of the medication.

               Review on 2/22/24 and 2/29/24 of Client #5's
               record revealed:




               -No physicians' orders.

               Review on 2/29/24 of Client #5's MAR dated
                             revealed:
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                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 5                                            V 118

               -The following medications were initialed as
               administered:




                                                     with
               instructions to "Please record the dose." The
               number of tablets administered was not
               documented for any of the doses.




               -No MARs were provided for                       or


               Review on 2/14/24 and 2/29/24 of Client #6's
               record revealed:




               Review on 2/29/24 of Client #6's MARs dated
                              revealed:
                               MAR had typed instructions for

                                        Take only at
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                                                                                                                  DEFICIENCY)


      V 118 Continued From page 6                                              V 118

                                                      was
               handwritten beside it. No documentation of
                        being administered from

                                  MARs had typed instructions for

               when at                only. No documentation of
                           being administered

               -No MAR was provided for

               Review on 2/14/24 and 2/29/24 of Client #8's
               record revealed:




               -Physician's Progress Note dated               "
               ...Current Outpatient Medications:




                                    ,




               -No physician's orders for any of the outpatient
               medications listed on the          Progress Note
               and no instructions were documented for the
               quantity, or frequency of the




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                                                                                                                DEFICIENCY)


      V 118 Continued From page 7                                            V 118


               Review on 2/29/24 of Client #8's MARs dated
                                 revealed:
               -The following medications were initialed as
               administered:
               -1 dose of        with no documentation of the
               strength, quantity, time, or instructions for
               administering the medication.
               -31 doses of
               twice daily PRN (instead of scheduled) with no
               instructions for the reason to administer the
               medication.




                              was not initialed as administered for

               -No MARs were provided for             through the
               date of discharge.

               Review on 2/14/24 and 2/29/24 of Client #9's
               record revealed:




               -No physician's orders from

               Review on 2/29/24 of Client #9's MARs dated
                            revealed:
               -MAR was dated                 but had 8 days of
               documented medication administration.
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 8                                            V 118

               -The following medications were initialed as
               administered




               -There was no MAR provided for              through
               the date of discharge.

               Review on 2/14/24 and 2/29/24 of Client #11's
               record revealed:




               Review on 2/29/24 of Client #11's MARs dated
                                 revealed:
                            was initialed as administered twice
               (instead of once) on
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                                                                                                                DEFICIENCY)


      V 118 Continued From page 9                                            V 118

                            was initialed as administered three
               times (instead of twice) on
                            was not initialed as administered on
                         or
                            was not initialed as administered on

               -4 doses of          and 1 dose of         was
               initialed as administered with no documentation
               of the strength, quantity, or instructions for
               administering the medication.
               -4 doses of           3 doses of        and 2 doses
               of                  were initialed as administered
               with no documentation of the strength, quantity,
               time, or instructions for administering the
               medication.
               -No MARs for

               Review on 2/29/24 and 3/12/24 of FC #14's
               record revealed:




               -




                           -


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  Division of Health Service Regulation
  STATEMENT OF DEFICIENCIES             (X1) PROVIDER/SUPPLIER/CLIA          (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                                                             B. WING _____________________________
                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 10                                           V 118




               Review on 2/29/24 of FC #14's MARs dated
                                 revealed:
               -Typed instructions for
                         every evening PRN (instead of
               scheduled)             14 doses were initialed as
               administered with no documentation of the
               quantity.
               -1 dose of       with no documentation of the
               strength, quantity, time, or instructions for
               administering the medication.
               -The following medications were initialed as
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  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 11                                           V 118

               administered without a signed physician's order:




               -No MAR for

               Review on 2/29/24 and 3/12/24 of FC #15's
               record revealed:




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  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 12                                           V 118

               Review on 2/29/24 of FC #15's MARs dated
                                 revealed:
               -5 doses of
                                                            were
               initialed as administered with no documentation
               of the time, quantity, or frequency.
               -5 doses of                      were initialed as
               administered with no documentation of the
               quantity, or time it was received.
               -1 dose of                and 2 doses of
               were initialed as administered with no
               documentation of the strength, quantity, time, or
               instructions for administering the medication.
               -12 doses of                and 6 doses of
                              were initialed as administered over a
               period of 6 days on an undated MAR.




                    was handwritten on the
               MAR with no documentation of the quantity, or
               instructions for administering the medication;
                                                was handwritten
               on the
               MARs with no documentation of the quantity, or
               instructions for administering the medication.
                              was initialed as administered over a
               period of 18 days                    instead of 14
               days and only 49 of 56 doses were documented
               as follows:
                         1 dose at 8:00 pm.
                                  1 dose at 8:00 am, 2:00 pm
               and 8:00 pm.
                          2 doses at 2:00 pm. No other doses
               were initialed as administered.
                                    1 dose at 8:00 am, 2:00 pm
               and 8:00 pm.
                          no doses were initialed as
               administered. A capital letter M was handwritten
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  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                                                             B. WING _____________________________
                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 13                                           V 118

               in each dosing space with a circle drawn around
               each letter with no explanation of the meaning.
                                    1 dose at 8:00 am, 2:00 pm
               and 8:00 pm.
                          1 dose at 8:00 am.

               Review on 2/27/24 and 2/29/24 of FC #16's
               record revealed:
               -




               -Handwritten note "ok to use                    " with
               no documented instructions.

               Review on 2/29/24 of FC #16's MARs dated
                                revealed:
               -No MARs for the weeks of

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  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 14                                           V 118

               -No documentation of           being
               administered on           or
               -No documentation of               being
               administered in the morning on
                        or
               -No documentation of               being
               administered in the evening on         or


                                  was typed onto each of the
               MARs with no documentation of the strength,
               quantity, frequency, or instructions for
               administering the medication. 1 dose was initialed
               as administered on
               -6 doses of          1 dose of            1 dose of
                      and 1 dose of                     were
               initialed as administered with no documentation
               of the strength, quantity, frequency, or
               instructions for administering the medication.
               -21 doses of          and 3 doses of
               were initialed as administered with no
               documentation of the time, strength, quantity,
               frequency, or instructions for administering the
               medication.

               Review on 2/29/24 and 3/12/24 of FC #17's
               record revealed:




               -




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  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


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               Review on 3/19/24 of an email dated 3/19/24
               received from the Director of Operations to the
               Division of Health Service Regulation (DHSR)
               surveyors revealed:
               -Diagnoses by history for FC #17:




               Review on 2/29/24 of FC #17's MARs dated
                              revealed:

               was not initialed as administered on           due
               to "lack of supply."
                                      was documented as
               (instead of                        with 29 doses
               initialed as administered.
               -27 doses of
                                          were initialed as
               administered without time, quantity, or physician
               order.
               -22 doses of          were initialed as
               administered without time, quantity, or
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  Division of Health Service Regulation
  STATEMENT OF DEFICIENCIES             (X1) PROVIDER/SUPPLIER/CLIA          (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 16                                           V 118

               instructions for administration.
               -7 doses of        were initialed as administered
               without documentation of quantity and 5 of the
               doses had no time.

               Review on 2/27/24 and 2/29/24 of FC #18's
               record revealed:




               Review on 2/27/24 of FC #18's MARs dated
                                  revealed:
               -29 doses of
               were initialed as administered without time,
               instructions for administering the medication, or a
               physician's order.
               -                                was documented
               as PRN                (instead of scheduled daily)
               and was not initialed as administered from
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  Division of Health Service Regulation
  STATEMENT OF DEFICIENCIES             (X1) PROVIDER/SUPPLIER/CLIA          (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


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               -1 dose of            was initialed as administered
               on          with no documentation of time,
               quantity, or instructions for administering the
               medication.
               -1 dose of           was initialed as administered
               on          with no documentation of time,
               quantity, or instructions for administering the
               medication.
               -1 dose of                    was initialed as
               administered on              with no documentation
               of strength, quantity, or time of the medication.

               Review on 2/29/24 of FC #19's record revealed:




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  STATEMENT OF DEFICIENCIES             (X1) PROVIDER/SUPPLIER/CLIA           (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                       COMPLETED
                                                                              A. BUILDING: ______________________

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                                              MHL088-020                                                                                   03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                   STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                 500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                 LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                         ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                   PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                   TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                 DEFICIENCY)


      V 118 Continued From page 18                                            V 118




               -Physician's order dated            included
                                         to [local pharmacy]" with
               no documentation of the strength, quantity, or
               instructions for administering the medication.
               -A label from a local pharmacy dated           for
               14 capsules (7-day supply) of
                                had no instructions for
               administering the medication.
               -No physician's order for                    or an


               Review on 2/29/24 of FC #19's MARs dated
                                    revealed:
               -Typed instructions for
                         daily in the morning Monday-Friday only.
               Initialed as administered only Monday-Friday
               (instead of daily) for 8 weeks except for Saturday

               -7 doses of                                     PRN
               every 6 hours                      were initialed as
               administered with no documentation of the
               quantity, or time it was received.
               - 14 doses of                         1 dose of
                              and 2 doses of
               were initialed as administered with no
               documentation of the strength, quantity, time, or
               instructions for administering the medication.
               -3 doses of            2 doses of                 1
               dose of        and 1 dose of               were
               initialed as administered with no documentation
               of the strength, quantity, or instructions for
               administering the medication.
               -55 doses of                               daily in the
               morning were initialed as administered.
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  AND PLAN OF CORRECTION                    IDENTIFICATION NUMBER:                                                                      COMPLETED
                                                                             A. BUILDING: ______________________

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  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 19                                           V 118

                                          with no other instructions
               was handwritten on the                        MAR;


               was handwritten on the                   and
                                MARs with no instruction for the
               reason to administer the medication;

                       was handwritten on the
               MAR with no documentation of the strength, or
               reason to administer the medication;
                    was handwritten on the
               MAR with no other instructions.

               Review on 2/29/24 of FC #20's record revealed:
               -Date of Admission: Not provided

               -Age: Not provided
               -Diagnoses: Not provided
               -No physician orders.

               Review on 3/19/24 of an email dated 3/19/24
               received from the Director of Operations to the
               Division of Health Service Regulation (DHSR)
               surveyors revealed:




               Review on 2/27/24 of FC #20's MAR dated
                               revealed:
               -The following medications were initialed as
               administered:


                                                                    .


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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 20                                           V 118




               -7 doses of
                        were initialed as administered with no
               documentation of the strength, or time.
               -7 doses of              were initialed as
               administered with no documentation of the
               strength, quantity, time, or instructions for
               administration.
               -No MARs were provided from

               Review on 2/27/24 of FC #21's record revealed:




               Review on 2/27/24 of FC #21's MARs dated
                                 revealed:
               -2 doses of           were initialed as
               administered on             and         with no
               documentation of the time, dosage, quantity, or
               instructions for administration.
               -7 doses of          were initialed as administered
               daily                  with documentation of the
               quantity, dosage, or instructions for
               administration.
                                   was not initialed as
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                                              MHL088-020                                                                                  03/21/2024
  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
    PREFIX             (EACH DEFICIENCY MUST BE PRECEDED BY FULL                  PREFIX             (EACH CORRECTIVE ACTION SHOULD BE              COMPLETE
     TAG               REGULATORY OR LSC IDENTIFYING INFORMATION)                  TAG              CROSS-REFERENCED TO THE APPROPRIATE               DATE
                                                                                                                DEFICIENCY)


      V 118 Continued From page 21                                           V 118

               administered on
               -No MARs were provided from

               Review on 2/6/24 of Facility Incident Reports
               dated                   revealed:
               -13 missed dosages of medications due to "lack
               of supply" involving 8 clients as follows:
               -Client #8:


               -Client #9:

               -FC #14:
               -FC #16:
               -FC #17:
               -FC #18:

               -FC #20:

               -FC #21:


               Review on 2/13/24 of an email dated 2/13/24
               received from the Health and Wellness Director
               to DHSR surveyors revealed:
               -"I am going to offer a narrative in an effort to
               provide context, although I realize little
               consideration is given to the background. Upon
               admission [Client #6's] mother reported that
               [Client #6] had not been taking his             for
               quite some time, and that she would like us to
               offer this medication as needed. The physician's
               signed OTC (over the counter) document did not
               match the received order. We initially defaulted to
               the order, as is appropriate. However, the student
               reported side effects and was resistant to taking
               the medication even, on one occasion, 'cheeking'
               and hiding the capsule (see IR (incident report)
               previously provided). We followed up with the
               parents who put in writing (see BN (Best Notes))
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                                                                                A. BUILDING: ______________________

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  NAME OF PROVIDER OR SUPPLIER                                     STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                   500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                   LAKE TOXAWAY, NC 28747
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               to please offer the medication as needed , and
               that they would send us the corrected order.
               When the order was received, it still stated daily.
               We followed up with the family and the prescriber
               on multiple occasions, receiving no response.
               The family has now agreed to an appointment
               with our consulting psychiatrist, which is currently
               scheduled for                         and we are
               seeking an earlier appointment to rectify our
               records as quickly as possible. While I do
               understand the errors that were made, I also
               think it is important to consider the timeline of
               events."

               Interview on 2/6/24 with Lead Staff #2 revealed:
               -"From time to time (have issues with not having
               enough medications). That's why you count, notify
               health and wellness. They would call the
               pharmacy."

               Interview on 2/8/24 with the local Medical
               Examiner revealed:
               -Reviewed the medication bottles and drug count
               for DC #1.
               -DC #1 was prescribed
               -Two bottles of           were both filled on

               -The medication count of               "was off."

               Interview on 2/9/24 with the Admissions Director
               revealed:
               -Trails Carolina had their own process for
               medications during admissions/intake.
               -Medications were received by "whomever" is
               doing the intake.
               -Staff documented the number of medications
               received.

               Interview on 2/12/24 and 2/27/24 with the Health
               and Wellness Director revealed:
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               -Responsibilities included making sure required
               documentation was completed upon admission,
               tracking medications, communicating with
               prescribers and parents, and coordinating
               physician orders with the local pharmacy.
               -"I am a wilderness EMT (Emergency Medical
               Technician) for this role. My background does not
               have much to do with this role. I am a wilderness
               therapy kid (client) and came back to do this
               role."
               -There were only two Health and Wellness staff at
               the facility.
               -"Nothing is streamlined because of our
               transitional model ...We have a lot of records."
               -The facility had a consulting physician and
               psychiatrist.
               -The consulting physician would come in quarterly
               to provide training.
               -If a client's home psychiatrist was willing to
               continue to see the client, the facility would work
               with them.
               -Lack of medications supply (on incident reports)
               "could be a variety of issues."
               -"Some parents send us meds (medications). We
               encourage them to use our local pharmacy. We
               wait for them to send it."
               -"A few times where prescriber hasn't sent in
               medication. And we work with family and
               prescriber to make sure we get that."
               -"We try to take care of it (medication supply)
               independently. If we have to communicate with
               the prescriber, the parents help that."
               -Medication errors from the previous week were
               discussed every Monday during the operations
               meeting which included managers from all
               departments and the Executive Director.
               -A 30-day supply of medication would be
               requested at admission.
               -"Yes. Feel that is the case (medication supply
               issues) since I have been here."
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               -MARs were created from the medications sent at
               admission and created on the client's first day at
               the facility.
               -Second audits were done by a different staff
               member.
               -If staff offered an OTC medication, it would be
               signed on the MAR.
               -
               -"We review them (MARs) against records when
               they first come in and anytime they are updated,
               or doing an audit ...not a set schedule."
               - When reviewing medication documentation "
               ...making sure prescriptions match the order we
               have on file ...make sure all signatures are there."
               -Reviewed MARs when staff and clients came out
               of the field every week.
               -If there was a discrepancy between MARs and
               orders, the facility would follow the doctor's
               orders.
               -"We are going by doctor's orders and pushing
               parents to go in line with doctors requests."
               -" ...admittedly they (staff) are not doing that
               (putting dosage on the MAR) and following
               dosage on packaging."
               -It was a team effort to make sure clients
               received medications as ordered.
               -" ...working with my team to make sure they
               (medications) are refilled appropriately and
               communicate with family for those needs. And
               when I struggle, I communicate with the greater
               team. I discuss on Monday and then on Friday
               with treatment team."
               -"Trails is the team. Everyone is responsible."
               -"...our biggest issue is helping families in crisis.
               So, the kids (clients) are coming in fast. So, trying
               to get information on the front end. Wish that
               could be better. In a perfect world we would have
               all scripts (prescriptions) in hand prior to a kid
               arriving. I think we do the best with what we
               have."
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               Interview on 2/9/24 with the Operations Director
               revealed:
               -Health and Wellness staff prepared clients '
               medication upon admission.
               -The Health and Wellness team had not entered
               MARs and Medication Incident Reports into the
               system yet.

               Observation on 2/12/24 at 1:49 pm of the Health
               and Wellness Medication locked storage room
               revealed:
               -4 large stacks of numerous loose paper MARs
               which had been completed and not filed.

               Interview on 2/21/24 with the Executive Director
               (ED) revealed:
               -Couldn't speak specifically to medication errors
               related to the lack of supply.
               -"Sometimes insurance, or parents have been
               uncooperative ...trying to get the outside source
               (for medications) is difficult."
               -"It is not uncommon for us to have that issue."
               -Asked that clients come with a 30-day supply of
               medication and a prescription. " ...doesn't always
               happen that way ...That is what we are asking for
               ..."
               -"We will hold (medications) if we don't have hard
               scripts (prescription)."
               -"Strangely not uncommon for parents to be
               unresponsive to emails or phone calls."
               -Health and Wellness staff used to review
               medication errors during the operations call on
               Mondays.

               Interview on 2/21/24 with the Founder/Executive
               Director revealed:
               -"Been doing well with those (medication errors)
               for the last few years."
               -"Usually across the board when the parent isn't
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               getting (prescriptions) ...they want to use their
               pharmacy. The parents don't care, or understand.
               "
               -"Best way is to allow our pharmacy to fill. And
               then from there. Med (medication) coordinators
               are calling parents a month ahead and that would
               be documented. Something we put a lot of time
               and energy into over the years."
               -"Never been a problem (clients receiving the
               wrong medications). That would be a fire-able
               offense."

               Due to the failure to accurately document
               medication administration, it could not be
               determined if clients received their medications
               as ordered by the physician.

               Review on 3/1/24 of a Plan of Protection dated
               3/1/24 completed and submitted by the Executive
               Director revealed:
               -"What immediate action will the facility take to
               ensure the safety of the consumers in your care?
               Our team will review medication administration
               P&P's (policies and procedures), including orders
               tracking, challenges with parental & professional
               communications regarding acquisition of
               medications in a timely fashion, tracking of OTC
               administration , and systematic checks and
               balances. Upon review we will determine
               adaptations to improve consistent & accurate
               medication administration. As of February 15th
               (2024) no students are enrolled in Trails.
               Describe your plans to make sure the above
               happens.
               We will set deadlines for action, assign specific
               individuals to tasks & changes, & have weekly
               checks and balances with leadership team
               reporting to ensure follow through."

               Clients served by the facility ranged in age from
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               10 to 18 years old. They had diagnoses including
               but not limited to Major Depressive D/O, ADHD,
               PTSD, Parent-Child Relational Problem,
               Generalized Anxiety D/O, Autism Spectrum
               Disorder, and Disruptive Mood Dysregulation
               Disorder. Clients were administered
                                  medications

                                               . Numerous
               medications were administered to clients without
               physician orders and other medications were not
               administered as prescribed. MARs were not
               documented accurately to reflect the strength,
               quantity, frequency, and/or instructions to
               administer the medications. There were 13
               incident reports over a 3 month period which had
               medications documented as missed, or late due
               to lack of supply. Not all MARs matched the
               incident reports and indicated the medications
               had been administered. Multiple MARs were not
               provided for review as requested.

               This deficiency constitutes a Type A1 rule
               violation for serious neglect and must be
               corrected within 23 days.

       V 364 G.S. 122C- 62 Additional Rights in 24 Hour                      V 364
               Facilities

               § 122C-62. Additional Rights in 24-Hour
               Facilities.
               (a) In addition to the rights enumerated in G.S.
               122C-51 through G.S. 122C-61, each adult client
               who is receiving treatment or habilitation in a
               24-hour facility keeps the right to:
               (1) Send and receive sealed mail and have
               access to writing material, postage, and staff
               assistance when necessary;
               (2) Contact and consult with, at his own expense

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               and at no cost to the facility, legal counsel, private
               physicians, and private mental health,
               developmental disabilities, or substance abuse
               professionals of his choice; and
               (3) Contact and consult with a client advocate if
               there is a client advocate.
               The rights specified in this subsection may not be
               restricted by the facility and each adult client may
               exercise these rights at all reasonable times.
               (b) Except as provided in subsections (e) and (h)
               of this section, each adult client who is receiving
               treatment or habilitation in a 24-hour facility at all
               times keeps the right to:
               (1) Make and receive confidential telephone
               calls. All long distance calls shall be paid for by
               the client at the time of making the call or made
               collect to the receiving party;
               (2) Receive visitors between the hours of 8:00
               a.m. and 9:00 p.m. for a period of at least six
               hours daily, two hours of which shall be after 6:00
               p.m.; however visiting shall not take precedence
               over therapies;
               (3) Communicate and meet under appropriate
               supervision with individuals of his own choice
               upon the consent of the individuals;
               (4) Make visits outside the custody of the facility
               unless:
               a. Commitment proceedings were initiated as
               the result of the client's being charged with a
               violent crime, including a crime involving an
               assault with a deadly weapon, and the
               respondent was found not guilty by reason of
               insanity or incapable of proceeding;
               b. The client was voluntarily admitted or
               committed to the facility while under order of
               commitment to a correctional facility of the
               Division of Adult Correction of the Department of
               Public Safety; or
               c. The client is being held to determine capacity

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      V 364 Continued From page 29                                           V 364         utensils and an adult to provide
                                                                                           accommodations as needed.
               to proceed pursuant to G.S. 15A-1002;
               A court order may expressly authorize visits                                Trails will update the Family
               otherwise prohibited by the existence of the
                                                                                           Services Handbook form to state
               conditions prescribed by this subdivision;
                                                                                           minor clients have the ability to
               (5) Be out of doors daily and have access to
               facilities and equipment for physical exercise
                                                                                           have family therapy sessions
               several times a week;
                                                                                           through video calls or phone calls,
               (6) Except as prohibited by law, keep and use                               as has been the practice of Trails in
               personal clothing and possessions, unless the                               previous years.
               client is being held to determine capacity to
               proceed pursuant to G.S. 15A-1002;                                          Client phone call requests and
               (7) Participate in religious worship;                                       respective documentation will be
               (8) Keep and spend a reasonable sum of his                                  discussed twice weekly during
               own money;                                                                  clinical supervision and treatment
               (9) Retain a driver's license, unless otherwise                             team meetings. Noted and
               prohibited by Chapter 20 of the General Statutes;                           monitored by the clinical director on
               and                                                                         meeting notes.
               (10) Have access to individual storage space for
               his private use.                                                            *Please note that our creation of a
               (c) In addition to the rights enumerated in G.S.                            POC for this citation does not
               122C-51 through G.S. 122C-57 and G.S.                                       indicate full agreement with
               122C-59 through G.S. 122C-61, each minor client                             conclusions of the state report and
               who is receiving treatment or habilitation in a
                                                                                           discrepancies will be addressed at
               24-hour facility has the right to have access to
                                                                                           the scheduled informal conference
               proper adult supervision and guidance. In
               recognition of the minor's status as a developing
                                                                                           on April 23 at 1pm.
               individual, the minor shall be provided
               opportunities to enable him to mature physically,
               emotionally, intellectually, socially, and
               vocationally. In view of the physical, emotional,
               and intellectual immaturity of the minor, the
               24-hour facility shall provide appropriate
               structure, supervision and control consistent with
               the rights given to the minor pursuant to this Part.
               The facility shall also, where practical, make
               reasonable efforts to ensure that each minor
               client receives treatment apart and separate from
               adult clients unless the treatment needs of the
               minor client dictate otherwise.

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               Each minor client who is receiving treatment or
               habilitation from a 24-hour facility has the right to:
               (1) Communicate and consult with his parents or
               guardian or the agency or individual having legal
               custody of him;
               (2) Contact and consult with, at his own expense
               or that of his legally responsible person and at no
               cost to the facility, legal counsel, private
               physicians, private mental health, developmental
               disabilities, or substance abuse professionals, of
               his or his legally responsible person's choice; and
               (3) Contact and consult with a client advocate, if
               there is a client advocate.
               The rights specified in this subsection may not be
               restricted by the facility and each minor client
               may exercise these rights at all reasonable times.
               (d) Except as provided in subsections (e) and (h)
               of this section, each minor client who is receiving
               treatment or habilitation in a 24-hour facility has
               the right to:
               (1) Make and receive telephone calls. All long
               distance calls shall be paid for by the client at the
               time of making the call or made collect to the
               receiving party;
               (2) Send and receive mail and have access to
               writing materials, postage, and staff assistance
               when necessary;
               (3) Under appropriate supervision, receive
               visitors between the hours of 8:00 a.m. and 9:00
               p.m. for a period of at least six hours daily, two
               hours of which shall be after 6:00 p.m.; however
               visiting shall not take precedence over school or
               therapies;
               (4) Receive special education and vocational
               training in accordance with federal and State law;
               (5) Be out of doors daily and participate in play,
               recreation, and physical exercise on a regular
               basis in accordance with his needs;
               (6) Except as prohibited by law, keep and use

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  NAME OF PROVIDER OR SUPPLIER                                  STREET ADDRESS, CITY, STATE, ZIP CODE

                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
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                                                                                           *Please note that our creation of a
               personal clothing and possessions under                                     POC for this citation does not
               appropriate supervision, unless the client is being                         indicate full agreement with
               held to determine capacity to proceed pursuant to
                                                                                           conclusions of the state report and
               G.S. 15A-1002;
                                                                                           discrepancies will be addressed at
               (7) Participate in religious worship;
               (8) Have access to individual storage space for
                                                                                           the scheduled informal conference
               the safekeeping of personal belongings;
                                                                                           on April 23 at 1pm.
               (9) Have access to and spend a reasonable sum
               of his own money; and
               (10) Retain a driver's license, unless otherwise
               prohibited by Chapter 20 of the General Statutes.
               (e) No right enumerated in subsections (b) or (d)
               of this section may be limited or restricted except
               by the qualified professional responsible for the
               formulation of the client's treatment or habilitation
               plan. A written statement shall be placed in the
               client's record that indicates the detailed reason
               for the restriction. The restriction shall be
               reasonable and related to the client's treatment or
               habilitation needs. A restriction is effective for a
               period not to exceed 30 days. An evaluation of
               each restriction shall be conducted by the
               qualified professional at least every seven days,
               at which time the restriction may be removed.
               Each evaluation of a restriction shall be
               documented in the client's record. Restrictions on
               rights may be renewed only by a written
               statement entered by the qualified professional in
               the client's record that states the reason for the
               renewal of the restriction. In the case of an adult
               client who has not been adjudicated incompetent,
               in each instance of an initial restriction or renewal
               of a restriction of rights, an individual designated
               by the client shall, upon the consent of the client,
               be notified of the restriction and of the reason for
               it. In the case of a minor client or an incompetent
               adult client, the legally responsible person shall
               be notified of each instance of an initial restriction
               or renewal of a restriction of rights and of the

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               reason for it. Notification of the designated
               individual or legally responsible person shall be
               documented in writing in the client's record.




               This Rule is not met as evidenced by:
               Based on record reviews and interviews, the
               facility failed to ensure that each minor client
               retained the right to communicate and consult
               with his parents or guardians and make and
               receive telephone calls. The findings are:

               Review on 2/7/24 of Deceased Client #1's (DC
               #1) record revealed:




               Review on 2/22/24 of Client #2's record revealed:




               Review on 2/22/24 of Client #5's record revealed:




               Review on 2/22/24 of Client #7's record revealed:

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               Review on 2/9/24 of Former Client (FC) #22's
               record revealed:




               Review on 2/22/24 of the facility's "Parent
               Authorization & Consent" form revealed:
               - "In as much as I have enrolled my son/daughter
               (full name) ____ in the Trails Carolina Adolescent
               Program beginning on (date) ____ ...and
               realizing the Trails has exclusive control of my
               child (full name) ____ during this time, I approve
               and consent to the following safety procedures to
               ensure the well-being of all participants: ... Trails
               staff have my permission to review, return, and/or
               restrict all incoming/outgoing mail to and from my
               child ..."

               Review on 2/22/24 of the facility's "Family
               Services Handbook" revealed:
               - " ... 'FAQ' Frequently Asked Questions ...2. How
               do I communicate with my child?
               Traditional mail and e-mail are the primary ways
               that you communicate with your child. Most
               parents type their weekly letter and email them to
               your TRAILS Primary Therapist. You can send an
               email letter to your son or daughter by sending it
               to your child's Primary Therapist's email address
               with the following as the subject line: Letter for
               <Child's Name> .
               The Primary Therapists will deliver mail during
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               their weekly sessions. Therefore, to ensure that
               they receive a letter for the week, it must be in the
               Primary Therapist's inbox or mailbox no later than
               Sunday evening. Staff and therapists collect the
               students' letters on Wednesday evening and post
               them on the [electronic system for parents] site by
               5:00 pm on Friday of that week. In order to
               encourage accountability, minimize disruptions,
               and model limits and boundaries for students,
               letters are distributed and collected only once a
               week ...
               Students may only receive mail from family
               members or an adult approved by you and the
               Primary Therapist. Letters sent from anyone else
               will be either held by the Primary Therapist until
               graduation or forwarded to you so that you can
               deliver this mail to your child when they return
               home ...
               All incoming mail will be screened prior to delivery
               to your child. Emails and hand-written letters will
               be screened to ensure that appropriate
               information gets passed on to your child.
               Envelopes will be checked for personal
               belongings and contraband. Letters that your
               child writes to you will also be read, but will never
               be altered in any way ..."

               Review on 2/12/24 of the facility's "TRAILS
               Carolina Student Grievance Policy" revealed:
               - " ... TRAILS Carolina Student Rights ...
               4. Incoming and outgoing mail will not be
               censored or restricted. This includes mail to and
               from parents, attorneys and guardians. Incoming
               mail will be reviewed by staff and sent to the
               recipient without alteration. All other mail may be
               restricted by parental request.
               5. I will have contact with my parents during the
               graduation family program, through letters, and
               an occasional telephone call if deemed
               therapeutically appropriate and if requested by
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               my parents or therapist. I have the right to
               request phone calls to my parents or guardians,
               and that my parents or therapist must approve
               this request ..."

               Attempted interview on 2/20/24 with DC #1's
               parents was unsuccessful due to no response to
               request for a return call.

               Interview on 2/7/24 with Client #2 (with guardian
               present via speakerphone) revealed:
               - He was only able to talk to his parents when he
               was with his therapist, the Clinical Director.
               - He met with the Clinical Director every Tuesday
               and Thursday.

               Interview on 2/9/24 with Client #2's
               guardians/parents revealed:
               - The facility's program was to "give some
               separation and space for therapeutic reason ..."
               - They talked to Client #2's Therapist weekly for
               the past 6 weeks.

               Interview on 2/20/24 with Client #5's Parent
               revealed:
               - Communication with Client #5 was through
               letters and "a couple" of video calls.
               - Conversations with Client #5 were not private as
               his therapist was present with him at the time of
               the video calls.

               Interview on 2/13/24 with Client #7 revealed:
               - She met with her therapist once weekly.
               - Could send letters to her parents.
               - Thought she could call her parents if she
               requested it.

               Interview on 2/20/24 with Client #7's Parent
               revealed:
               - She was able to have phone calls with Client #7.
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               - The phone calls were not private as "someone
               was with her" at the time of the calls.

               Interview on 2/20/24 with FC #22's Parents
               revealed:
               - " ... There is no correspondence. In means of
               talking to him. It was like 2 weeks. The only time I
               could talk to him was with [the Clinical Director]
               on the phone ... We didn't have access to
               communicate with him while he was there."

               Interview on 2/15/24 with the Logistics
               Coordinator revealed:
               - On 2/2/24, DC #1 had "demanded to call his
               mom ...in our program, they (clients) are not to
               contact their family at that time ... I don't have
               authority to say yes or no ....I wanted to say 'yeah,
               here's my phone' ..."

               Interview on 2/13/24 with the Primary Therapist
               revealed:
               - Communication between clients and their
               parents occurred twice weekly.

               Interview on 2/13/24 with the Clinical Director
               revealed:
               - She met with clients for weekly therapy
               sessions.
               - Parents received weekly updates about clients
               via telephone.

               Interview on 2/21/24 with the Executive Director
               (ED) revealed:
               - The communication between parents and
               clients "typical way is letters back and forth each
               week ..."
               - Letters were never edited by facility staff.
               - On the first day of admission, calls were not
               allowed: "Not typically. We will have that
               conversation and half the time parents bring them
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                                                                                           Incident Response Requirements
               and it is 'you saw them five minutes ago, so no'                            for Category A and B Providers
               ..."
               - Clients were allowed to call their parents
               "Unless there are clinical reasons as to why not
                                                                                           Background
               and the parent will say they don't want to talk.
               Sometimes it is clinically useful to wait ..."
                                                                                           A client death occurred on 2.3.2024,
               - Video calls were also allowed between clients
                                                                                            and the incident was relayed
               and their parents.                                                          verbally to DHHS on the same day
                                                                                           followed by the incident report
               Interview on 2/21/24 with the Founder/ED                                    submitted into the IRIS system on
               revealed:                                                                   2.4.2024. The DHHS auditors were
               - Communication with parents was "Primarily                                  on site on 2.6.2024. DHHS asked
               letter writing ... could be [video calls] or phone                          for an Internal investigation report
               calls ..."                                                                  and the Operations Director gave
               - If clients wanted to call their parents, "They have                       them the information that Counsel
               to go through grievance process. It is in policy                            would have that documentation.
               and procedures. The parents have to agree. We                               The Incident Report and all known
               are not going to surprise a parent with a call. If it                       client information was uploaded into
               is antsy, we will have the student write that                                IRIS, the Internal Investigation was
               request and then it will work from there ..."                               not uploaded into the database.
       V 366 27G .0603 Incident Response Requirements                        V 366         In the future an internal
                                                                                           investigation report beyond an
               10A NCAC 27G .0603             INCIDENT                                     Incident report will be submitted.
               RESPONSE REQUIREMENTS FOR                                                   The Internal investigation review will
               CATEGORY A AND B PROVIDERS                                                   occur within 24 hours of the
               (a) Category A and B providers shall develop and                            incident and will consist of review of
               implement written policies governing their                                   the client record to determine the
               response to level I, II or III incidents. The policies
                                                                                           facts and causes of the incident and
               shall require the provider to respond by:
                                                                                            make recommendations for
               (1)        attending to the health and safety needs
               of individuals involved in the incident;
                                                                                           minimizing the occurrence of future
               (2)        determining the cause of the incident;
                                                                                           incidents; gather other information
               (3)        developing and implementing corrective
                                                                                           needed; issue written preliminary
               measures according to provider specified                                    findings of fact within five working
               timeframes not to exceed 45 days;                                           days of the incident,
               (4)        developing and implementing measures
               to prevent similar incidents according to provider
               specified timeframes not to exceed 45 days;

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                                                                                           system.
               (5)         assigning person(s) to be responsible
               for implementation of the corrections and                                   An incident followup timeline will be
               preventive measures;
                                                                                           created and put in place to correct
               (6)         adhering to confidentiality requirements
                                                                                           the deficient area of practice. This
               set forth in G.S. 75, Article 2A, 10A NCAC 26B,
               42 CFR Parts 2 and 3 and 45 CFR Parts 160 and
                                                                                           followup will include timelines
               164; and
                                                                                           indicated in a reporting plan to
               (7)         maintaining documentation regarding                             ensure all necessary reports and
               Subparagraphs (a)(1) through (a)(6) of this Rule.                           timelines are met in the state IRIS
               (b) In addition to the requirements set forth in                            reporting system.
               Paragraph (a) of this Rule, ICF/MR providers
               shall address incidents as required by the federal                          A timeline and overview of the
               regulations in 42 CFR Part 483 Subpart I.                                   incident response and reporting
               (c) In addition to the requirements set forth in                            manual measures will be put in
               Paragraph (a) of this Rule, Category A and B                                place to prevent the problem from
               providers, excluding ICF/MR providers, shall                                occurring again. These items will
               develop and implement written policies governing                            prompt administrative staff to follow
               their response to a level III incident that occurs                          the reporting and uploading
               while the provider is delivering a billable service                         procedures for incidents.
               or while the client is on the provider's premises.
               The policies shall require the provider to respond                          The Operations Director will monitor
               by:                                                                          relevant situations to ensure
               (1)         immediately securing the client record
                                                                                           uploading all relevant reports in a
               by:
                                                                                           timely manner. They will stay up to
               (A)        obtaining the client record;
               (B)         making a photocopy;
                                                                                           date with the IRIS response
               (C)          certifying the copy's completeness; and
                                                                                           reporting system to ensure
               (D)        transferring the copy to an internal
                                                                                           familiarity with reporting procedures.
               review team;
               (2)         convening a meeting of an internal                              The monitoring will take place
               review team within 24 hours of the incident. The                            quarterly, or as incidents occur.
               internal review team shall consist of individuals
               who were not involved in the incident and who
               were not responsible for the client's direct care or
               with direct professional oversight of the client's
               services at the time of the incident. The internal
               review team shall complete all of the activities as
               follows:
               (A)        review the copy of the client record to

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                                                                                            *Please note that our creation of a
               determine the facts and causes of the incident                               POC for this citation does not
               and make recommendations for minimizing the                                  indicate full agreement with findings
               occurrence of future incidents;
                                                                                             of the state report and
               (B)         gather other information needed;
                                                                                            discrepancies will be addressed at
               (C)          issue written preliminary findings of fact
               within five working days of the incident. The
                                                                                            the scheduled informal conference
               preliminary findings of fact shall be sent to the
                                                                                            on April 23 at 1pm.
               LME in whose catchment area the provider is
               located and to the LME where the client resides,                             Pg 43
               if different; and
               (D)        issue a final written report signed by the                        10A NCAC 27D .0304 Protection
               owner within three months of the incident. The                               from Harm, Abuse, Neglect or
               final report shall be sent to the LME in whose                               Exploitation (V512)
               catchment area the provider is located and to the
               LME where the client resides, if different. The                              Groups with students placed on
               final written report shall address the issues                                Assigned Proximity (AP),
               identified by the internal review team, shall                                heightened level of supervision, will
               include all public documents pertinent to the                                have an overnight awake staff
               incident, and shall make recommendations for                                 present in the group, while the
               minimizing the occurrence of future incidents. If                            student is on AP. As such, bivy’s
               all documents needed for the report are not                                  and (burritos) will no longer be
               available within three months of the incident, the                           used, even though these have been
               LME may give the provider an extension of up to
                                                                                             state approved interventions for
               three months to submit the final report; and
                                                                                            safety for the past 15 years.
               (3)         immediately notifying the following:
               (A)        the LME responsible for the catchment
               area where the services are provided pursuant to
                                                                                            Frequency and insurance that
               Rule .0604;
                                                                                            overnight awake staff (OAS) was
               (B)         the LME where the client resides, if                             staffed whenever needed will be
               different;                                                                   reviewed at weekly operations
               (C)          the provider agency with responsibility                         meetings and overseen by the
               for maintaining and updating the client's                                    Executive Director.
               treatment plan, if different from the reporting
               provider;
               (D)        the Department;
               (E)         the client's legal guardian, as
               applicable; and
               (F)         any other authorities required by law.


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                                                                 500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                 LAKE TOXAWAY, NC 28747
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                                                                                            POC for this citation does not
                                                                                            indicate full agreement with
                                                                                            conclusions of the state report and
                                                                                            discrepancies will be addressed at
                                                                                            the scheduled informal conference
                                                                                            on April 23 at 1pm.
               This Rule is not met as evidenced by:
               Based on record reviews and interviews, the
               facility failed to issue written preliminary findings
               of fact within five working days of a level III
               incident. The findings are:

               Review on 2/7/24 of Deceased Client #1's (DC
               #1) record revealed:




               Review on 2/6/24, 2/8/24, and 2/20/2024 of the
               North Carolina Incident Response Improvement
               System (IRIS) revealed:




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               -Internal investigation had not been uploaded.

               Requests made for review of the facility's internal
               investigation on 2/7/24, 2/9/24, and 2/20/24,
               revealed:
               - Not provided during the survey.

               Interviews on 2/9/24 and 2/21/24 with the Director
               of Operations revealed:
               - She was unsure if an internal investigation had
               been completed following DC #1's death.
               - Had not been present at the facility on 2/3/24.
               - Found out about DC #1's death at approximately
               3:00 PM on 2/3/24.
               - Entered the incident report into IRIS.
               - Would have to check with the Executive Director
               about an internal investigation.
               - Spoke with one of the facility's attorneys and
               was told that the internal investigation was
               "privileged" and was to be conducted by "outside
               counsel ..."
               - Had not seen any reports other than the one
               that she entered into IRIS.
               - Was aware that the facility staff that had been
               working in DC #1's cabin at the time of his death
               (Lead Staff #1, Staff #3, Staff #4, and the Field
               Shift Coordinator (FSC)) had been "debriefed" by
               a therapist.

               Interviews on 2/9/24 and 2/21/24 with the
               Executive Director (ED) revealed:
               - He was informed of DC #1's death on the
               morning of Saturday, 2/3/24.
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               - On 2/3/24, local law enforcement began an
               investigation, including interviews with staff and
               clients.
               - That night (2/3/24) , Lead Staff #1, Staff #3,
               Staff #4, and the FSC spent the night at a
               bunkhouse on the facility's grounds and an
               "outside therapist check(ed) in on" them.
               - He and the facility's attorney had a virtual
               meeting with Lead Staff #1, Staff #3, Staff #4, and
               FSC on Sunday, 2/4/24.
               - The virtual meeting included questions about
               the staffs' involvement with the incident and
               timeline.
               - The results of the investigation were "privileged
               at the moment ..." and could not be released.
               - As of 2/9/24, the " ... root cause analysis (of the
               incident investigation); that part is still in process."

               Interview on 2/21/24 with the Founder/ED
               revealed:
               - An internal investigation into DC #1's death
               began on Sunday, 2/4/24.
               - An attorney from a nearby city conducted the
               internal investigation for the facility.
               - She was not sure if the internal investigation
               was still going on: " ... No recommendations I can
               think of. I don't know the answer if it is still going
               on. Depends on what new comes up ..."

               No other information was received from the
               facility by the date of exit.

       V 512 27D .0304 Client Rights - Harm, Abuse, Neglect                    V 512

               10A NCAC 27D .0304        PROTECTION FROM
               HARM, ABUSE, NEGLECT OR EXPLOITATION
               (a) Employees shall protect clients from harm,
               abuse, neglect and exploitation in accordance
               with G.S. 122C-66.

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               (b) Employees shall not subject a client to any
               sort of abuse or neglect, as defined in 10 A NCAC
               27C .0102 of this Chapter.
               (c) Goods or services shall not be sold to or
               purchased from a client except through
               established governing body policy.
               (d) Employees shall use only that degree of force
               necessary to repel or secure a violent and
               aggressive client and which is permitted by
               governing body policy. The degree of force that
               is necessary depends upon the individual
               characteristics of the client (such as age, size
               and physical and mental health) and the degree
               of aggressiveness displayed by the client. Use of
               intervention procedures shall be compliance with
               Subchapter 10A NCAC 27E of this Chapter.
               (e) Any violation by an employee of Paragraphs
               (a) through (d) of this Rule shall be grounds for
               dismissal of the employee.




               This Rule is not met as evidenced by:
               Based on observations, record reviews, and
               interviews, 4 of 11 audited staff (Lead Staff #1,
               Staff #3, Staff #4, and the Field Shift Coordinator
               (FSC)) failed to protect from harm and neglected
               1 of 1 deceased client (DC#1). The findings are:

               Observation and interview on 2/6/24 at 12:50PM
               of Cabin 6 on facility grounds with the Executive
               Director (ED) and the Founder/ED revealed:
               -a wooden cabin that had a covered front porch
               area attached with 3 windows and front door.
               -the floor was plywood.
               -there were five bunk beds, two on the left that
               were parallel with a main wall and three that were
               placed in T-shape from the other wall.
               -the bunkbeds had green mattresses.
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               -there were six boarded up windows on the left
               side of the cabin.
               -there was a heat source in the back of the cabin,
               behind the two bunk beds on the left.
               -there was a bathroom in the back to the right
               with two toilets, a stand-up shower, sink, and
               spigot.
               -a chemical closet was across from the
               bathroom.
               -the back wall had a Dutch Door (no glass) with a
               latch that could be used to exit the back of the
               cabin in the event of an emergency.
               -per the ED and Founder/ED the windows were
               boarded on one side to provide privacy from
               another cabin

               Observation on 2/14/24 at 11:01AM of DC #1's
               Bivy at local law enforcement agency revealed:
               -a greenish-brown and black bivy (1-person
               shelter) made of a Nylon-type material.
               -overall shape is a long tube with an opening at
               the front, like a mouth, that allows for a pole to be
               inserted to create a half-moon shape for
               head/gear space.
               -The bottom part of the bivy is a nylon type
               material that appears to be covered with a
               waterproofing substance that comes up to the
               sides.
               -the opening of the bivy reflects two different
               portions that can be zipped to close it.
               -the first zippered part has a fine black mesh net
               material over the opening that allows for
               breathability/visibility/protection from bugs and an
               outer portion which is the rain fly (that is opaque
               in visibility) to protect from weather.
               -The first mesh layer had a hole in it that was
               bigger than the size of fist, that started from the
               seam of the zipper.
               -The inside layer had zipper tracks/seam that
               were fluorescent yellow.
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               -A metal alarm pin for the bivy was observed to
               be on the outside zipper (that was black), had a
               black tape on it, and a black hair tie with it and
               was attached to the metal zipper pull with a black
               zip tie.

               Review on 3/7/24 of the bivy manufacturer's
               website revealed:
               "-Nylon 30D Ripstop Upper and 100% Nylon 40D
               with TPU lamination floor...polyester mesh.
               Features: Fabric Performance: Waterproof,
               breathable, fully seam taped, durable, no-see-um
               mesh...
               Design Features: Single-Pole System, High
               Volume Toe End, Clamshell Opening, Two
               Internal Fly Fasteners
               -"Dimensions 82 in (inches) X 26 in X 19.8
               (footbox tapers)."

               Review on 2/13/24 of pictures received from local
               law enforcement agency revealed:
               -White plastic with black ties at both ends
               resembling the shape of a canoe.
               -Golf ball sized object identified as an alarm was
               zip tied to the zipper of the bivy.

               Review on 2/7/24 of DC #1's record revealed:




               Review on 2/6/24 and 2/8/24 of the North
               Carolina Incident Response Improvement System
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               (IRIS) revealed:




               Requests made for review of the facility's internal
               investigation on 2/7/24, 2/9/24, and 2/20/24,
               revealed:
               -not provided during the survey.

               Finding #1: Staff #3 did not complete required
               night checks on DC #1 which failed to provide the
               required supervision.

               Review on 2/7/24 of Staff #3's record revealed:
               Hire Date: 11/15/23.
               Position: Wilderness Field Instructor 1 (WFI)
               (Support)
               -Signed Job Description dated 11/14/23 revealed:
               "Conditions of duty...Bathroom Duty and Night
               Checks...one or more WFI will be assigned each
               night to bathroom duty and night checks to
               maintain supervision..."

               Review on 2/14/24 and 2/15/24 of the WFI
               Manual revealed:
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               -"Section 2-Supervision and Safety: Supervision
               Expectations...
               -Night Checks: Night Checks are done 3 times
               per night at 12AM, 3AM, and 6AM (Staff wake up
               time)...when doing night checks: count all
               students...you are looking for hair on the head
               and breathing (to make sure it' s not a stuffed
               sleeping bag). If you are not sure, check (lightly
               lift up a piece of the sleeping bag and feel for
               significant weight)."

               Review on 2/22/24 of facility Call-In Sheet for
               Q1(Quarter) 2024 revealed:
               -DC #1 was in Echo Group.
               -2/3/24, "Echo: [DC #1]
                                          Rest of Echo has high
               potential to be grouchy through day."

               Interview on 2/6/24 with Lead Staff #2 revealed:
               -was a lead wilderness field instructor.
               -had been "called in early" to work on 2/3/24
               because two staff couldn't work (Staff #3 and
               Staff #4). He was not told that a client was
               deceased.
               -Staff wake up at 12:00AM, 3:00AM, and 6:00AM
               for night checks.
               -when asked how to perform night checks, "Staff
               check to see breathing, if (they) are ok in tent,
               check under the rain fly if they are in a tent...and
               do a head count."

               Interview on 2/12/24 with Staff #3 revealed:
               -was a support level wilderness field instructor.
               -Lead Staff #1, Staff #3, Staff #4, and FSC were
               working in cabin 6 on 2/2/24.
               -responsible for night checks on 2/2/24 and was
               on "loo duty" (bathroom duty).
               -DC #1 was on "Safety" (Assigned Proximity
               Supervision (AP)) and slept in a bivy next to Staff
               #4.
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               -"AP, we call that safety...sleep in bivy...(its) small
               one person tent with alarm and staff member (is)
               right beside them...Staff (are) within arms-reach
               at all times."
               -"He (DC #1) was on 'safety' being his first day."
               -a solid plastic sheet (called a canoe) was placed
               around the outside of the bivy, and the rest of the
               sleeping gear went inside of it (sleeping pad and
               sleeping bag).
               -DC #1 was set up to sleep in the corner of the
               cabin with his head towards the bunk(s), feet
               against the wall, and assigned staff are on the
               third side (parallel).
               -"Heads are together (staff and client)."
               -completed night checks at 12:00AM, 3:00AM,
               and 6:00AM.




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               -"At 6:00 AM I thought I heard shallow breathing
               from the tent or at least that area."
               -couldn't determine at 6:00AM whether the
               breathing was from Staff #4 or DC #1.
               -confirmed that DC #1's bivy was fully enclosed
               (mesh part and outer rain fly zipped up) and could
               not actually physically see him (DC #1).
               -7:45 AM, "staff (Staff #4) started to wake him
               up...[DC #1] was not getting up."
               -"All we (Staff #3 and Staff #4) could see out of
               the head side of the bivy was a foot... another staff
               (Staff #4) undid the alarm and unzipped the
               bivy...no movement..."




               -can contact "primary response (PR)" during
               overnight if needed (for issues with a student) but
               thought that person was FSC, who was already
               with the group.

               Review on 3/8/24 of local law enforcement's
               interview with Staff #3 on 2/15/24 revealed:
               -confirmed he was on bathroom duty that night
               (2/2/24) and responsible for night checks.
               -"when a kid that is in the bivy...we call it AP
               supervision or commonly termed...safety."
               -originally, the bivy (DC#1) was fully enclosed and
               couldn't confirm if that changed throughout the
               night.


               -"...there was an issue with the zipper on the
               (DC#1's) bivy."
               -Gave staff (FSC and Staff #4) his tool bag.




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                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
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               -"Did check at 3:00AM, he was breathing heavily."
               -"Did check at 6:00AM...certain I heard breathing
               from that section...he was in the bivy...He was no
               longer heavily breathing..."
               -Could not confirm during 3:00am and 6:00am
               checks whether DC #1's bivy was open or closed.
               -Staff #3 couldn't verify that DC #1 was present
               during his night checks.
               - "I heard mumbling between hours of
               3:00-6:00am..so I went over there...I heard
               shallower breathing...can't say for certain if the
               breathing was from him or [Staff #4] because
               their heads were at same level..."
               -"...couldn't physically see the inside of bivy
               because it wasn't clear...could see it was
               occupied. heard breathing from that space."
               -was trained to do night checks.
               -was trained to look physically or audibly for
               confirmation that a client was alive when doing
               night checks.
               -"I didn't check as thoroughly as I should have."
               -"My actions that night was to perform night
               checks...that was my responsibility, which I failed
               on."
               -" ...I do feel like the bivy had a lot to do with it
               (DC#1 passing away) ..."
               -" ...Suffocation is always possible if equipment is
               being used wrong ..."

               Interview on 2/8/24 with the FSC revealed:
               -was the field shift coordinator on 2/2/24.
               -Lead Staff #1, Staff #3, Staff #4, and herself
               were working in Cabin 6 on 2/2/24.
               -was the supervisor.
               -when asked if Staff #3 did his checks, "I'm not
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               entirely sure...we spoke afterwards, and he said
               that he had...but I'm not sure."

               Finding #2: Lead Staff #1, Staff #4, and FSC
               failed to provide the required supervision that
               protected DC #1 from harm and neglect and
               failed to follow internal procedure for increased
               sleeping modification with the bivy.

               Review on 2/7/24 of Lead Staff #1's record
               revealed:
               Hire Date: 9/11/23.
               Position: Wilderness Field Instructor ( effective
               (eff) 1/1/24.)

               Review on 2/7/24 of Staff #4's record revealed:
               Hire Date: 8/7/23.
               Position: Wilderness Field Instructor (WFI).

               Review on 2/7/24 of FSC's record revealed:
               Hire Date: 12/13/22.
               Position: Field Shift Coordinator (eff 1/16/24).

               Review on 2/14/24 and 2/15/24 of the facility's
               internal procedure for "Increased Sleeping
               Precaution (Bivvy Modification)" revealed:
               -"When a student is on AP (Assigned Proximity)
               one of the 3 automatic requirements is an
               increased sleeping precaution. The Bivvy is the
               default option...
               -The bivvy must be placed inside of a canoe with
               the Walls wrapped around the sides.
               -The bivvy must have the screen closed at the
               head in order for staff to be able to see the
               student when needed.
               -A zipper alarm system must be used once the
               student is asleep. Until they fall asleep they can
               be in the bivvy with out the alarm with staff next to
               them.
               -Attaching the alarm:
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               -The pin of the alarm must be attached to the top
               zipper of the screen with a small zip tie through
               the metal on both parts.
               -The key ring on the alarm then goes around the
               pole and the pole is secured in place with the
               velcro tab.
               -Bells must be attached to the bottom of the bivvy
               and the velcro tab where the pole is secured.
               -Attachments between the alarm and the Bivvy or
               bells must utilize a small zip tie to ensure that the
               system is secure but can also be removed by the
               staff if needed.
               -Sleeping arrangement
               -A staff member needs to sleep head to head
               next to the student AND one of the following
               -with another staff member sideways at the head
               of the bivvy.
               -OR the student in a corner of a room with the
               head and one side against a wall.
               -Sleeping Tarp-only to be used when specifically
               approved by either the therapist or the Field
               Director..."

               Interview on 2/7/24 with Client #2 with guardian
               present via speaker phone revealed:
               -would sleep in the bivy on the floor of the cabin if
               you were on safety.
               -"Staff sleep around us...one next to entrance,
               one in back, and one next to bivy."
               -"alarm on bivy, if you unclip the alarm, it makes a
               bird noise."
               -"must ask staff to get out of the bivy."




               Interview on 2/7/24 with Client #3 with guardian
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               present via speaker phone revealed:
               -when asked where he slept in the cabin, if on
               Safety, "on floor in bivy...not on safety, in bunk
               with sleeping bag and liner."
               -if you need help while in the bivy, "you have to
               tap them (staff) somehow...you roll on top of
               them...it's really hard to wake staff up."


               -he (DC #1) was in the bivy on the floor.
               -was not sure about night checks with staff .

               Interview on 2/7/24 with Client #4 with guardian
               present revealed:




               - Safety is, "sleeping in a bivy sac with security,
               basically, an alarm...on the floor..."
               -"Staff sleep on floor next to you ."
               - the alarm is loud.
               -"staff set alarm (to bivy) when they think you're
               asleep..."
               -Before they (staff) wake anyone up, they take the
               alarm off (the bivy).
               -staff have head lamps for night checks .
               -"did not see any lights that night (2/2/24)."

               Interview on 2/8/24 and 2/12/24 with the Lead
               Staff #1 revealed:
               -confirmed he was the lead staff that night ,
               responsible for the group, administered
               medications (meds).
               -gave DC#1 his meds on 2/2/24.
               -stationed (to sleep) by the front door of the cabin
               (Cabin 6).
               -Staff #3 was responsible for completing night
               checks.
               -Didn't know if Staff #3 completed those checks,
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               "I was asleep."
               -"Any student coming in is assigned AP."
               - DC #1 was assigned Staff #4 as his AP staff on
               2/2/24 and slept in the bivy.
               -"It's like a first precautionary that every student
               goes through..."
               -"...(the) hard shell cover that goes around it
               (outer bivy layer)...most students don't' like
               that...makes it feel claustrophobic, never had a
               student ask to close it..."
               -when asked if DC #1's bivy was damaged, "To
               my knowledge no...I think the netting might have
               had a small tear...I didn't examine it..."




               -last interaction with DC#1 was at 12:30AM and
               he got in his sleeping bag and went to sleep.
               -woke up in am at 7am, went for laundry and did
               "call in."
               -returned to the cabin around 7:40AM and turned
               on the lights.
               -




               -sent Staff #4 to call 911 and radioed FSC.




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               Interview on 2/13/24 with the Clinical Director
               revealed:
               -clinical director and acting therapist for Echo
               group.
               -was not on campus when DC #1 arrived.




               -received a text message from Lead Staff #1 at
               7:37AM regarding DC #1.

               Observation on 2/13/24 of a text message dated
               2/3/24 at 7:37AM on the Clinical Director's (CD)
               phone from Lead Staff #1 revealed:




                Attempted interview on 2/12/24 with Staff #4
               revealed:
               -two voicemails left on 2/12/24 were unreturned.
               -2/14/24, legal counsel for Staff #4 advised the
               Division of Health Service Regulation there would
               be "no comment."
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               Review on 2/7/24 of local law enforcement
               agency's interview dated 2/3/24 with Staff #4
               revealed:
               -went to help with DC #1's intake around
               11:30AM on 2/2/24.




               -DC #1 was later brought to the group and placed
               on "safety."
               - assigned staff to DC#1 and had to be "in arms
               reach."
               -"[DC#1] was sleeping in the floor and not a
               bunk...its protocol."




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               -nodded and answered "yes" to the question, do
               you think he suffocated?
               -he and the camp were responsible for DC #1's
               death.
               -when asked what he could have done, "I could
               have opened it up, repositioned him (in the bivy)."

               Interview on 2/8/24 with the FSC revealed:
               -was the FSC.


               -did a cursory check (general scan) of DC#1
               during intake and noted


               -completed pocket checks on DC #1 as well.
               -took DC #1 to join the other kids around 3:00PM
               and exchanged DC#1's medications with Lead
               Staff #1.
               -advised Staff #4 that DC #1 was on AP (safety).
               -told DC #1 around 9:00PM, "ok we have to get in
               the bivy."
               -slept in the middle of the cabin (between bunks).
               -DC #1 was in the corner of the cabin with his feet
               towards the corner of the wall and head towards
               the bunks.
               -there was a problem with the zipper part of the
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               bivy, it came off and she put it in her pocket .




               -DC#1 was let out of the bivy and he fell asleep
               on Staff #4's pad.
               -DC#1 went back into the bivy around 10:00pm.




               -"We let him out the first time...and second
               time...he stayed inside the bivy..."
               -heard DC #1 snoring and went to bed for the
               night.




               -woke up around 6:00AM and went out of the
               cabin.
               -Lead Staff #1 reported over walkie talkie that a
               student was unresponsive.




               -DC#1 was wearing a red hoodie.




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               Review on 3/9/24 of Law Enforcement's interview
               with the FSC on 2/14/24 revealed:
               -was the FSC.

               -Staff #4 was also present during DC #1's intake
               process.
               -DC #1 was on AP (Safety).
               -Lead Staff #1, Staff #3, Staff #4 and FSC worked
               in cabin 6 on 2/2/24.
               -not present for medication administration at the
               cabin.
               -In regard to DC #1's bivy, two zippers (on inside
               like the tent), " ...the head of the zipper came off
               (exterior) and put it in my pocket ..."
               -On DC#1's bivy, had to get tool kit as the zipper
               was attached to mesh and the entire part came
               off.
               -With DC#1's bivy, there were 2 layers. The
               screen part was where the zipper fell off, so the
               wind shell part was zipped up.
               -The alarm was zip tied one to the tent pole and
               one to the zipper.
               -Alarm was on outside of bivy.




               -Staff #4 let him out of the bivy and DC #1 fell
               asleep on Staff #4's sleeping bag.
               -told DC #1 it was time to get back inside the bivy.




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                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
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               -

               -FSC went to sleep and "heard snoring."
               -could not corroborate if DC #1 was breathing,
               talking, or making noise between 3:00AM-6:00AM
               because she was asleep.
               -woke up around 5:45AM- 6:00AM and left the
               cabin for other duties.
               -around 7:50AM, overheard Lead Staff #1
               through the walkie-talkie that a student was
               unresponsive.




               -"with behavioral stuff, we active(ly) listen,
               validate, give options, and if that doesn't work we
               disengage...and if it continues and its
               unmanageable, we reach out to a therapist for
               further instruction."
               -"A lot of the kids we have come in will thrash and
               cry their first night."
               -had not been given instruction before by facility
               staff to pull a kid out of a bivy and check their
               vitals if escalated.




               -confirmed DC #1 was let out of the bivy once
               that night.
               -couldn't confirm if Staff #3 did his night checks.
               -confirmed DC #1's bivy was damaged and
               explained there were 2 layers.
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               -"the screen part is where zipper part fell off , so
               we zipped up the wind shell part (outer layer)."
               -"Never seen a kid turn around in the bivy."
               -"I think if he did flip around there, there would be
               a lot of noise."
               -her job was to "observe their nighttime routine so
               I could fill out paperwork...coach them (staff)..."
               -advised she wanted to speak to an attorney.

               Interview on 2/15/24 with a logistics coordinator
               revealed:
               -did not provide new students with the bivy
               system.
               -there was one Bivy per group (students assigned
               in groups by age/gender)
               -"the bivy is [facility]...solo tent is what they get in
               backpack."
               -"Echo group presumably already had one...I
               didn't give them one(bivy)."

               Interview on 2/21/24 with the Executive Director
               (ED) revealed:
               -oversaw day to day operations.
               -was notified by primary response (PR) regarding
               DC #1 not being responsive on 2/3/24 around
               8:00AM.
               -did not see DC #1's body on scene in the cabin.
               -started using the bivy system with an alarm,
               middle of last fall and "felt like it gave a better
               sense of privacy and easier to digest than the
               'burrito' for clients."
               -never had issues with it before (bivy).
               -reported other wilderness programs used a bivy.
               -with night checks, staff were supposed to
               confirm that a client was physically there, "without
               taking them out of the sleeping bag...supposed to
               look for movement, breathing, those types of
               things."

               Interview on 2/21/24 with the Founder/ED
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               evealed:
               - oversaw the ED.
               -"I know what licensing standards are and what's
               best practice."
               -"Don't have a lot of first-hand knowledge about
               bivy system."
               - night checks are supposed to be "visual."

               Interview on 2/7/24 with local law enforcement
               revealed:
               -first responders were dispatched at 7:45AM on
               2/3/24.
               -staff were supposed to be checking on DC #1
               through the night at 3:00AM and 6:00AM.




               -"[DC #1] slept on the floor of the cabin (cabin 6),
               on a plastic sheet...inside a sleeping bag and in a
               Bivy."
               -law enforcement was dispatched to the scene at
               8:28AM

               Interview on 2/8/24 and 3/6/24 with the local
               Medical Examiner revealed:
               -observed DC #1 at the scene.
               -the body had been taken out of the bivy and it
               was crumpled (bivy) in the corner of the cabin.




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               Review on 2/16/24 of the Plan of Protection dated
               2/16/24 written by the Operations Director
               revealed:
               "What immediate action will the facility take to
               ensure the safety of the consumers in your care?
               The 4 staff present in cabin 6 on the evening of
               Feb 2-Feb 3(2024) were put on leave after the
               incident. All students are discharged on Feb 16
               (2024).
               Describe your plans to make sure the above
               happens:
               A meeting will discuss and review current
               supervision for day and night. An alternative
               policy and procedure will be proposed by March 4
               (2024) for review."

               This facility is licensed to provide residential
               therapeutic camp services to children and
               adolescents with diagnoses such as Attention
               Deficit Hyperactivity Disorder, Autism,
               Depression, Disruptive Mood Dysregulation
               Disorder, eating disorders, and substance use
               disorders. DC #1 was a physically healthy
                             child that was admitted to Trails
               Carolina on 2/2/24 in the afternoon and was
               pronounced deceased the morning of 2/3/24 by
               authorities. DC #1 was assigned to the ECHO
               group in cabin 6 with four other clients on 2/2/24.
               There were four staff present in cabin 6 on
               2/2/24; all of whom were responsible for the
               safety and wellbeing of the clients. DC #1 was
               placed in a bivy with an alarm to sleep in on his
               first night, encased in plastic canoe due to AP
               supervision (safety/heightened supervision) with
               an assigned staff (Staff #4) next to him (within
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               arm's reach) for safety and supervision.




                                                            DC #1
               was let out of the bivy one time by FSC and Staff
               #4 in the overnight hours of 2/2/24. He fell asleep
               on Staff #4's mattress and was then woken up
               and instructed to go back in the bivy after a few
               minutes.
                                                                no
               one checked on him inside the bivy for his
               wellbeing despite being non-responsive to staff
               prompts.

                                                 Staff #3 was
               assigned to complete night checks on 2/2/24. He
               confirmed that he did not physically see DC #1
               during his checks at 3:00 AM and 6:00AM as the
               outside of the bivy was zipped closed. He
               admitted that he could not tell if the breathing was
               from DC #1 or from Staff #4 during those times.
               Therefore, Staff #3 couldn't determine whether
               DC#1 was alive. Lead Staff #1, FSC, and Staff
               #4, failed to provide supervision or consult with
               another supervisor during the night when DC #1
               was escalated. They failed to follow internal
               procedure for sleeping modification for students.
               They could not visually assess DC#1 because the
               outside of the bivy was closed. The bivy was
               alsodamaged and the zipper was broken. FSC
               told Staff #4 to stand against a wall and to
               disengage when DC #1
                                   Staff #4, the assigned AP
               "arms-length staff," did not engage and went to
               bed. Based on discrepancies in interviews, it
               could not be determined what interventions took
               place to assist DC #1
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      V 512 Continued From page 65                                           V 512         (V513) 10A NCAC 27E .0101 Least
                                                                                           Restrictive Alternative
               after 12:00AM.
                                                                                           Groups with students placed on
                                                                                           Assigned Proximity (AP),
                                                                                           heightened level of supervision, will
                                                                                           have an overnight awake staff
                                                                                           present in the group, while the
                                                                                           student is on AP. As such, bivy’s
                                                                                           and tarping (burritos) will not be
                                                                                           used.

                                               DC #1's body                                Frequency and insurance that
               was found turned around in the bivy the next                                overnight awake staff (OAS) will be
               morning at 7:45AM and pronounced deceased.                                  staffed whenever needed will be
               The medical examiner's report and toxicology are                            reviewed at weekly operations
               pending, however preliminary results reported the                           meetings and overseen by the
               death as unnatural.                                                         Executive Director.
               This deficiency constitutes a Type A1 rule                                  *Please note that our creation of a
               violation for serious harm and neglect and must                             POC for this citation does not
               be corrected within 23 days.                                                indicate full agreement with
                                                                                           conclusions of the state report and
       V 513 27E .0101 Client Rights - Least Restictive                      V 513         discrepancies will be addressed at
               Alternative                                                                 the scheduled informal conference
                                                                                           on April 23 at 1pm.
               10A NCAC 27E .0101            LEAST RESTRICTIVE
               ALTERNATIVE
               (a) Each facility shall provide services/supports                           For Example:
               that promote a safe and respectful environment.
                                                                                           a) The report states there were 23
               These include:
                                                                                           counts of staff on AP with students
               (1)         using the least restrictive and most
               appropriate settings and methods;
                                                                                           of the opposite sex. The bivvy policy
               (2)         promoting coping and engagement
                                                                                            does NOT require staff to be same
               skills that are alternatives to injurious behavior to
                                                                                           sex.
               self or others;
               (3)         providing choices of activities                                 b) The report implies that students
               meaningful to the clients served/supported; and
               (4)         sharing of control over decisions with
               the client/legally responsible person and staff.

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      V 513 Continued From page 66                                           V 513         sleeping on a sleeping pad on the
                                                                                           floor in a cabin jeopardizes their
               (b) The use of a restrictive intervention                                   dignity. The state has signed off on
               procedure designed to reduce a behavior shall                               this safety precaution for the past
               always be accompanied by actions designed to
                                                                                           15 years, until now.
               insure dignity and respect during and after the
               intervention. These include:
               (1)        using the intervention as a last resort;
               and
               (2)        employing the intervention by people
               trained in its use.




               This Rule is not met as evidenced by:
               Based on observations, record reviews, and
               interviews, the facility failed to provide services
               using the least restrictive and most appropriate
               methods that promoted a safe environment and
               was designed to ensure dignity and respect. The
               findings are:

               Observation and interview on 2/6/24 at 12:50 pm
               of Cabin 6 on facility grounds with Executive
               Director (ED) and Founder/ED revealed:
               -A wooden cabin that had a covered front porch
               area attached with windows and front door.
               -The floor was plywood.
               -There were five bunk beds, two on the left that
               were parallel with a main wall and three that were
               placed in T-shape from the other wall.
               -The bunkbeds had green mattresses.
               -There were six boarded up windows on the left
               side of the cabin.
               -There was a heat source in the back of the
               cabin, behind the 2 bunk beds on the left.
               -There was a bathroom in the back to the right
               with two toilets, a stand up shower, sink, and
               spigot.
               -A chemical closet was across from the
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               bathroom.
               -The back wall had a Dutch Door (no glass) with
               a latch that could be used to exit the back of the
               cabin in the event of an emergency.
               -Per the ED and Founder/ED, The windows were
               boarded up on one side to provide privacy from
               another cabin further up the hill and DC #1 slept
               in the corner to the far left side.

               Observation on 2/14/24 at 11:01AM of DC #1's
               Bivy at local law enforcement agency revealed:
               -A greenish-brown and black bivy (1-person
               shelter) made of a Nylon-type material.
               -Overall shape is a long tube with an opening at
               the front, like a mouth, that allows for a pole to be
               inserted to create a half-moon shape for
               head/gear space.
               -The bottom part of the bivy is a nylon type
               material that appears to be covered with a
               waterproofing substance that comes up to the
               sides.
               -The opening of the bivy reflects two different
               portions that can be zipped to close it; the first, a
               fine black mesh net material over the opening
               that has a zipper that allows for
               breathability/visibility/protection from bugs and an
               outer portion which is the rain fly (that is opaque
               in visibility) to protect from weather.
               -The first mesh layer had a hole in it that was
               bigger than the size of fist, that started from the
               seam of the zipper.
               -This inside layer had zipper tracks/seam that
               were fluorescent yellow.
               -A metal alarm pin for the bivy was observed to
               be on the outside zipper (that was black), had a
               black tape on it, and a black hair tie with it and
               was attached to the metal zipper pull with a black
               zip tie.

               Review on 3/7/24 of the bivy manufacturer's
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               website revealed:
               "-Nylon 30D Ripstop Upper and 100% Nylon 40D
               with TPU lamination floor ...polyester mesh.
               Features: Fabric Performance: Waterproof,
               breathable, fully seam taped, durable, no-see-um
               mesh ...
               Design Features: Single-Pole System, High
               Volume Toe End, Clamshell Opening, Two
               Internal Fly Fasteners
               "-Dimensions 82 in (inches) X 26 in X 19.8
               (footbox tapers)."

               Review on 2/13/24 of pictures received from local
               law enforcement agency revealed:
               -White plastic with black ties at both ends
               resembling the shape of a canoe.
               -Golf ball sized object identified as an alarm was
               zip tied to the zipper of the bivy.

               Review on 2/14/24 and 2/15/24 of the Trails
               Carolina Policy "4.03. Safety Levels" revised on
               1/23/23 revealed:
               -"Procedure:
               1. The student is placed on Assigned Proximity
               when they violate safety code ...
               3. ...A plan will be made with the primary
               therapist on how a student can exhibit safety
               behaviors and move off of Assigned Proximity .
               4. The staff will inform the student of the decision ,
               educate the student about the consequences,
               limitations, and expectations of Assigned
               Proximity, and immediately implement safety
               phase requirements (see expectations of safety
               phase).
               5. Assigned Proximity restrictions can range from
               18 - 72 hours. Restrictions can last longer than
               this only if clinically indicated by the need to keep
               students and others safe. If extension of safety
               phase longer than 72 hours is indicated, the
               student's primary therapist will document clinical
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               justification for this extension in the student case
               notes.
               6. If the student reaches the 72 hour limit on
               Assigned Proxmity prior to completing all the
               requirements of this phase, and is determined by
               the student's therapist that they are no longer a
               safety risk, they will return to Assigned Relational
               Supervision or Relational Supervision privileges
               until they complete all the safety phase
               requirements, and the treatment team grants a
               higher phase.
               7. The student must complete all safety
               requirements to enable them to return to
               Assigned Relational Supervision or Relational
               Supervision .
               8. When the student has completed the
               requirements of Assigned Proximity they must get
               approval from the Primary Therapist or Clinical
               Director to return to a lower level of supervision .
               9. A student may return to Assigned Relational
               Supervision or Relational Supervision as
               determined by the Primary therapist or Clinical
               Director.
               10. Expectations of Assigned Proximity : ...
               e. A student will be placed on arm's length with
               staff for the duration of safety phase .
               f. At night, the student will be required sleep in a
               burrito unless an exception is approved by the
               Clinical or Executive Director ..."

               Review on 2/14/24 and 2/15/24 of the facility's
               undated internal procedure for "Increased
               Sleeping Precaution (Bivvy Modication)" revealed:
               "When a student is on AP (Assigned Proximity)
               one of the 3 automatic requirements is an
               increased sleeping precaution. The Bivvy is the
               default option, a sleeping tarp is only to be used
               in specific instances and approved by the primary
               therapist or a Director.
               Bivvy Sack:
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                                                                LAKE TOXAWAY, NC 28747
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               Student Prep:
               -Approach the bivvy in a gentle way. Make it clear
               that this is to ensure their safety and they can get
               out whenever they feel the need, they just have to
               tell staff. Hear their concerns and validate any
               fears, frustrations, or emotions coming up.

               -Before the Student enters the Bivvy a pocket
               check must be conducted. Only things necessary
               for sleeping are permitted. These restricted to:
               -Sleeping pad.
               -Sleeping bag
               -No more than 2 layers of clothing
               -1 clothing item for a "Pillow"
               -Stuffy (if approved by therapist)
               -All other Items must be left with staff or outside
               with the rest of their belongings.

               -Alarm and bivvy set up
               -A sleeping pad must be inside of the bivvy itself.
               -The bivvy must be placed inside of a canoe with
               the Walls wrapped around the sides.
               -The bivvy must have the screen closed at the
               head in order for staff to be able to see the
               student when needed.
               -A zipper alarm system must be used once the
               student is asleep. Until they fall asleep they can
               be in the bivvy with out the alarm with staff next to
               them.
               -Attaching the alarm:
               -The pin of the alarm must be attached to the top
               zipper of the screen with a small zip tie through
               the metal on both parts.
               -The Key ring on the alarm then goes around the
               pole and the pole is secured in place with the
               velcro tab.
               -Bells must be attached to the bottom of the bivvy
               and the velcro tab where the pole is secured.
               -Attachments between the alarm and the Bivvy or
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               bells must utilize a small zip tie to ensure that the
               system is secure but can also be removed by the
               staff if needed.

               -Sleeping arrangement
               -A staff member needs to sleep head to head
               next to the student AND one of the following:
               -with another staff member sideways at the head
               of the bivvy.
               -OR the student in a corner of a room with the
               head and one side against a wall.
               -Sleeping Tarp-only to be used when specifically
               approved by either the therapist or the Field
               Director.
               -Sleeping Tarp There are two configurations:
               -2 staff option: End of tarp is under Staff A, over
               student, and Under Staff B-1 staff option: Tarp
               wraps around student and sleeping bag like a
               "taco" and staff sleep on top of two open ends
               -When doing a sleeping tarp in a cabin be sure to
               NOT use mattress in configuration and have
               student on cabin floor. Student should be
               sleeping in a canoe under the tarp.
               -Note, the exit point of a sleeping tarp is out the
               top. Obstructing this area (eg. wall, staff, tent
               wall) helps increase the effectiveness of the
               sleeping tarp.
               -Do not have the tarp too tight around the
               student.
               -This also allows staff to monitor the student
               closer throughout the night.
               -Acknowledge that this can be even more
               stressful for students who are already at high risk.
               Ensure that you present it as a tool for ensuring
               safety and wellbeing."

               Review on 2/14/24 and 2/15/24 of the facility
               Wilderness Field Instructor Manual revealed:
               -"Section 2 - Supervision and Safety ...
               Sleeping Tarp (aka "Burrito")
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               When students are on AP (and sometimes for
               other reasons given by a therapist), they are to be
               tarped at night. This entails placing a tarp over
               the student's body (but not head) with the ends
               placed under adjacent staff. When done correctly,
               if the student attempts to move more than a
               normal sleeper would, it creates enough noise to
               alert staff. This can help prevent self-harm and
               run attempts. Staff that are tarping need to be of
               the same sex as the student being tarped.
               There are two techniques for tarping:
               "Taco": A staff of the same sex is positioned on
               each side of the student. Each staff sleeps on top
               of one side of the tarp, and the middle portion
               goes over the student. This is the setup pictured
               above, and is preferred when your team has the
               staff needed to match genders appropriately .
               "Burrito": The student sleeps on top of one end of
               the tarp, and the rest of the tarp is wrapped over
               the student and then placed under an adjacent
               staffs sleeping setup.
               Before putting the student into their tarp setup,
               take the opportunity to perform a thorough pocket
               check.
               When sleeping in a cabin, the student is to be
               tarped on the floor, sleeping on a pad. Do not use
               a mattress ...
               Assigned Proximity students will ALWAYS sleep
               in a 'burrito' unless IPM (Individual Precautionary
               Measures) dictates otherwise ..."

               Review on 2/7/24 of Deceased Client #1's (DC
               #1) record revealed:




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               Review on 2/22/24 of Client #2's record revealed:




               Review on 2/22/24 of Client #3's record revealed:




               Review on 2/22/24 of Client #4's record revealed:




               Review on 2/22/24 of Client #5's record revealed:




               Review on 2/22/24 of Client #6's record revealed:




               Review on 2/22/24 of Client #7's record revealed:




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               Review on 2/29/24 of Client #11's record
               revealed:




               Review on 3/15/24 of facility face sheets for
               Unaudited Clients revealed:
               -Client #12:




               -Client #13:




               Review on 2/29/24 of Former Client (FC) #18's
               record revealed:


               Age: not provided.
               Diagnoses: requested but not provided.

               Review on 2/29/24 of FC #19's record revealed:


               Age: not provided.
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               Review on 3/15/24 of facility client discharge list
               revealed:
               -FC #23's Discharge Date:
               -FC #24's Discharge Date:
               -FC #25's Discharge Date:
               -FC #26's Discharge Date:

               Review on 2/22/24 of the Facility Call In Sheet for
               2023 Quarter 4 and 2024 revealed:
               -Clients that were on AP for 72 hours or longer:
               -Client #2:
               -Client #4:
               -Client #6:
               -Client #7:
               -Client #11:
               -Client #12:
               -Client #13:
               -FC #18:
               -FC #19:
               -FC #19:
               -FC #23:

               -FC #24:


               -FC #25:
               -Clients that were on AP with staff assigned of
               opposite sex:
               -Client #6
               -Client #7
               -FC #19
               -FC #24
               -FC #26

               Interview on 2/7/24 with Client #2 (with guardian
               present via speakerphone) revealed:
               -Staff sleep around us in cabin. One next to
               entrance, one in back (Loo), and one next to you
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               in the bivy.
               -If you are on safety, you sleep in a bivy on the
               floor.
               -"Alarm on bivy, if you unclip the alarm, it makes
               a bird noise."
               -"Must ask staff to get out of the bivy." Staff were
               in arms length.

               Interview on 2/7/24 with Client #3 (with guardian
               present via speakerphone) revealed:
               -when asked where he slept in the cabin, if on
               safey, "on floor, in bivy...not on safety, in bunk
               with sleeping bag and liner."
               -On safety when you first arrive.
               -You are on the floor and staff are parallel to you.
               -To get out of the bivy, "have to tap them (staff)
               somehow ...you roll on top of them ..."
               -It is hard to wake staff up.
               -DC #1 was in a bivy on the floor.
               -The mother was not aware that Client #3 slept in
               a bivy the first night.

               Interview on 2/7/24 with Client #4 (with guardian
               present) revealed:
               -Safety is, "sleeping in a bivy sac with security,
               basically, an alarm...on the floor..."
               -Have to ask to go to the bathroom. Hard to do
               without waking everyone up.
               -"Staff sleep on the floor next to you."
               -"Staff set alarm (to bivy) when they think you're
               asleep..."

               Interview on 2/20/24 with parent of Client #5
               revealed:
               -Was not aware of the bivy protocol. "I had to
               google what a bivy was."
               -"He (Client #5) later told me ..."

               Interview on 2/13/24 with Client #6 revealed:
               -"As soon as you get on it (safety/AP), they make
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               a plan (to get off)...a day, a few days, a week."
               -First night, "I rolled on the alarm and it went off."

               Interview on 2/13/24 with Client #7 revealed:
               -Night one you sleep in the bivy "...until you speak
               to the therapist."
               -Didn't try to get out of the bivy because "...try to
               open and the alarm goes off."

               Interview on 2/20/24 with parent of Client #7
               revealed:
               -Was aware of alarm system but was unsure of
               how it worked. Hadn't seen the system on a bivy
               sack.

               Review on 3/8/24 and 3/11/24 of local law
               enforcement agency interview with the Field Shift
               Coordinator dated 2/14/24 revealed:
               -When clients first come in or show signs of
               hurting themselves or others, damage to
               property, or running away, they are put on AP.
               -A bivy is a very small tent. "We have an alarm on
               it."
               -"Ground plastic thing underneath it and then the
               bivy and then the sleeping bag and then the kid"
               -The plastic is on the floor.
               -A sleeping pad goes inside the bivy. The
               mattresses are for the bunks.
               -" ...the screen part was but the zipper part fell off
               so we zipped up the wind shell part ..."
               -" ...a lot of the kids that we have come in will
               thrash and cry on their first night."
               -If client unzips the bivy, it sets off an alarm. The
               alarm is padded and the size of a golf ball.
               -There was an alarm if they try to get out, staff
               would be alerted by the alarm.
               -Prior process was the burrito. A tarp folded over
               with staff on either side. If the client moved, staff
               would feel the tarp move.
               -The facility was workshopping a new idea for AP
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               and landed on the bivy system.
               -The alarm has always been used on the bivy at
               this facility.

               Review on 3/11/24 of local law enforcement
               agency interview with Staff #4 dated 2/3/24
               revealed:
               -Description of bivy, " ...not trying to keep you
               confined or locked in it's just for your safety. And
               if you ever need to get out, you can just yell out
               for us and we can let you out and unzip you ..."
               -Did not know why the bivy was on the floor and
               not the bed. "Protocol it (bivy) goes on the floor."

               Review on 3/8/24, 3/12/24 and 3/14/24 of local
               law enforcement agency interview with Staff #3
               dated 2/15/24 revealed:
               -Use the bivy for supervision purposes.




               -"He (DC #1) was in the corner with him right up
               against two of the walls. His feet at one wall and
               him parallel with another wall. A bunk by his head
               and then the staff member on the other side of
               him blocking him off entirely from that way. So he
               was boxed in 4 directions. He was right up
               against that side wall ..."
               -"It (bivy) is intended to where they cannot get out
               of it without us knowing."
               -"They wake up this person right here (points to
               where staff member would be sleeping) ...and
               that person opens bivy."
               -"None that I have been trained on." (protocol for
               claustrophobia). "There is an alternative to bivy. It
               wouldn't be night of that we would make that
               decision. Burrito. It is more claustrophobic."
               -Had been trained that the bivy was a better
               alternative to the burrito.
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                                                                500 WINDING GAP ROAD
  TRAILS CAROLINA
                                                                LAKE TOXAWAY, NC 28747
    (X4) ID                SUMMARY STATEMENT OF DEFICIENCIES                        ID                 PROVIDER'S PLAN OF CORRECTION                   (X5)
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               -Supervision of the bivy was to make sure they
               (clients) could not get away or get out of the bivy
               without someone knowing.
               -"The layout of when they are on safety is
               designed to where they should not be able to
               move around without somebody knowing ..."
               -"If they (clients) want to get up and use the
               restroom all they have to do is ask. If they want to
               get up and walk around ...all they have to do is
               ask ...we let them out ..."
               -"The application of it (the bivy) I had issues with
               beforehand. It's not clear. We can't see them."
               -" ...how are we supposed to keep kids safe with
               no better alternative immediately ..."
               -"The burrito seemed even more constrictive
               ...sounds more inhumane ..."
               -" ...The bivy is supposed to be more comfortable
               ...than wrapping someone in a tarp (burrito)."
               -"I absolutely agree with that (with the bivy being
               traumatic)."
               -"That precaution (safety-bivy) is more to prevent
               harm than it is to encourage therapy...That is why
               we have to go to therapists if we are going to take
               them off ..."
               -All new students were automatically put on
               advanced supervision until therapists say
               otherwise.
               -There was an issue with the zipper on DC #1's
               bivy and staff needed a zip tie out of the tool bag .
               -Don't use the tarps anymore because bivies
               were safer and more comfortable than the burrito.
               -During orientation was told the bivy was safer
               and more comfortable.

               Interview on 2/12/24 with Staff #3 revealed:
               -AP is "...mostly commonly called safety..."They
               have to sleep in the bivy...easier to keep track of
               them..."
               -A bivy is a small one-person tent with an alarm
               and staff member right beside them. Staff was
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               within arms reach at all times.
               -"You should be able to reach out of the sleeping
               bag and touch them."
               -"The goal was to sandwich the clients in and be
               as close as possible to where they cannot even
               roll over without you knowing. If they roll over they
               would roll over onto you and you would know it."
               -Staff should be able to reach out of sleeping bag
               and touch them.
               -Plastic is under the burrito and bivy. " ...Solid
               plastic sheet underneath ...It was loud. Stick it
               under the bivy and the rest of the sleeping gear
               goes in the bivy."
               -Staff in the field can put a client on safety if they
               have dangerous behaviors but only therapist can
               take off.
               "Typically they are on multiple days (AP) . It can
               last fewer...They (therapists) don't have speak to
               them. But the therapist will tell us. The mood that
               caused the behaviors takes a while to dissipate.
               But the therapist will decide."
               -"...and all new students start on safety."
               -The bivy was set up so that 3 sides are covered
               and the staff are one of those side. They sleep
               head to head. The clients head toward other
               bunk, against the wall, in toward the cabin.
               -"We do our best to make sure they don't see us
               set up alarm ..."
               -There were issues with zipper of the bivy. The
               staff were trying to get the alarm set up because
               of issue with the zipper.
               -Not sure how long new students stay in the bivy.
               They were switching from burrito to bivy when I
               first started.
               -Clients sleep in the bivy with the alarm on it if
               they are on AP.
               -Staff sleeps on tarp next to student in the burrito .
               -Changed within the last 6 months from burrito to
               the bivy.
               -Shift training on the bivy was led by field
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               management on how to set it up.
               -There was a training on the bivy the Wednesday
               before DC #1 passed away.

               Interview on 2/6/24 with the Lead Staff #2
               revealed:
               -New clients stay in the bivy until after first
               therapy session to figure where they are and
               determine protocol.
               -They sleep in backpacking bivy and keep fly
               open until they go to bed. An alarm system that
               goes off, goes on zipper. IT would make a loud
               noise, sounds like a siren.
               -The therapist makes that decision of when they
               come off protocol. New clients typically one night.
               -They see the therapist right away and assign
               precautions.
               Gives a good sense of where you are at.
               -Field staff were allowed to place kids on AP but
               not take them off. Have to go through a therapist
               to remove that precaution.
               -The facility started using the bivy system a
               couple of months ago.
               -Types of clients varies a lot. Their behaviors
               don't transfer well in school setting. Some have
               trouble regulating emotions, a few are on the
               spectrum, history of self harm, and some
               attempted suicide.

               Interview on 2/7/24 and 2/12/24 with the Lead
               Staff #1 revealed:
               -The bivy was used the first night in order to
               make enough noise to alert staff around them . It's
               a first precautionary that every student goes
               through.
               -A plastic sheet goes on the ground and the client
               gets in sleeping bag and then inside the bivy.
               -The bivy has an alarm.
               -A pull pin is attached to the zipper, and then the
               pull pin is attached to the bivy
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               -"If zipper unzips the alarm pops open."
               -Staff was assigned to sleep next to them and
               slept head to head. They can alert staff at any
               time.
               -Close at least the mesh netting on the bivy. We
               can close the top if they want to make it darker.
               -" ...There is a mesh zipper and then one that is
               alarmed. Hard shell cover. Most students don't
               like that. It makes you feel claustrophobic. I have
               never had a student want that. I have never had
               to open it. If I did, I would crack it just to point my
               light in there."
               -" ...I think the netting may have had a small tear
               in it. It was handed down from staff and wasn't
               told anything and I didn't check."
               -If clients are on safety they have to stay in the
               bivy.
               -Therapist gives a set of outcomes to be taken off
               safety, as long as it takes them to complete.

               Interview on 2/7/24 with the Field Shift
               Coordinator revealed:
               -On AP, staff are in arms length of the clients and
               the clients also have to sleep in the bivy.

               Interview on 2/13/24 with Anonymous Staff #6
               revealed:
               -AP also called safety. One staff within arms
               reach of student. Would have to sleep in burrito
               or bivy.
               -The alarm goes on the zipper of the bivy.
               -Trained staff on burrito but denied personally
               having trained staff on bivy.
               -Former Field Director #13 was previous trainer.
               -Burrito was the tarp placed under student, then
               over them and staff will sleep next to them on
               other side of tarp.
               -Started using the bivy system last year.

               Interview on 2/20/24 with the Former Staff Field
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               Director #13 revealed:
               -If the bivy was broken, notify Primary Response
               (PR) and let them know.
               -Training on bivy was completed by the facility.
               -If protocol is broken, contact PR.

               Interview on 2/15/24 with the Logistics
               Coordinator revealed:
               -Training for the bivy included: how to set it up,
               alarm, system, functions, the intentions, intended
               use, ring is through pull, setting it up so couldn't
               be diffused inside the bivy.
               -Felt that the alarm was easy to get off.
               -"Last I heard we moved back to the old system
               with a tarp."

               Interview on 2/13/24 with the Primary Therapist
               revealed:
               -Role was Primary Therapist.
               -Had been in this role for 3 years and 11 months.
               -AP level of care is always in arm reach of staff.
               -AP would have assigned staff and use the bivy
               system around supervision.
               -Generally AP will max out at 72 hours.
               -Staff can move a client up a level but needs
               direct feedback from therapist to move them
               down.
               -Didn't have enough info to speak on bivy system.
               " ...Can't speak accurately."
               -Hadn't been trained on the bivy system.
               -The bivy system had been used for several
               months.
               -"It is less restrictive than alternatives ..." even
               with an alarm.
               -It was automatic if assigned on AP they are put
               in bivy.
               -They can unzip the bivy and it will set off alarm .
               They have to notify staff that they need to get out .
               -When alarm is placed on zipper, there is an
               intention to get out ...
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               -" ...enclosed in the bivy and that keeps them
               (clients) there."
               -The facility has done awake staff but only when
               significant risk of elopement.
               -"If they require awake staff at night , they are not
               a fit for our program."

               Interview on 2/13/24 with the Clinical Director
               revealed:
               -Had been the Clinical Director since July of
               2015.
               -AP is assigned proximity and staff are to be in
               arms length of that person.
               -Staff can bump clients up levels of safety but not
               down.
               -Clients have to complete safety plan and
               therapists will remove from AP.
               -Clients would sleep in bivy with alarm attached to
               it when on AP.
               -At intake, assigned on AP until a therapist comes
               out.
               -How the bivy works ..."Haven't seen one in
               action. I have seen one at [local outdoor store] ..."
               -Clients can be on AP " ...as long as needed. I
               don't know that there is a minimum ..."
               -Seems better approach than tarp system for
               proximity.
               -"Just zip it up and put on the alarm ...I haven't
               seen it in place."
               -Alarm is attached to the zipper.
               -Field Director #6 did the training on the bivy for
               staff.

               Interview on 2/21/24 with the Operations Director
               revealed:
               -Started using the bivy system " ...pretty recent. It
               is considered a more comfortable scenario ..."
               -"Considered least restrictive. It is a less
               restrictive way to ensure that a student doesn't
               wake up and run away."
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               Interview on 2/21/24 with the ED revealed:
               -With assigned proximity, a specific staff is within
               an arms length of that student. The staff can
               bump up a level but only therapist can reduce
               level.
               -Part of that assigned proximity was sleeping in a
               bivy.
               -Implemented in the middle of last fall.
               -"Other programs began using that (bivy) instead
               of tarping system. Felt that it gave a better sense
               of privacy and easier to digest than the burrito."
               -The alarm was there to alert staff. More effective
               for elopement risk.
               -Field Director #6 and Former Field Director #13
               developed the training for the bivy.
               -"We got stuff from other programs and then
               worked the rest of it out on our own."
               -If damaged, would call and get a new one. Staff
               could get a tarp and use the burrito if needed.
               -"I don't think explicitly." (tell parents about the
               bivy)
               -"We get them (clients) assessed as soon as
               possible. It is standard they come in on Assigned
               proximity and they may change once assessed."
               -"If a bivy is a restrictive intervention then so is
               their sleeping bag."

               Interview on 2/21/24 with the Founder/ED
               revealed:
               -Did not do daily operations anymore.
               -Supervises the ED.
               "If someone is on a heightened watch they are
               within arms watch at all times."
               -"I don't have a lot of first hand knowledge of the
               bivy system ..."
               -"I have been doing this for 30 years. I am aware
               of licensing standards."
               -If equipment is broken, would be expected that
               they call in and get a replacement.
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               Review on 2/16/24 of the Plan of Protection dated
               2/16/24 written by the Operations Director
               revealed:
               "What immediate action will the facility take to
               ensure the safety of the consumers in your care?
               Students that are on Assigned Proximity
               supervision will no longer be in a bivy or burrito
               sleep arrangement. All students are discharged
               on Feb 16th.
               Describe your plans to make sure the above the
               happens.
               A meeting will discuss + review the least
               restrictive alternative for students. An alternative
               policy + procedure will be proposed by March
               11th for review."

               Clients served by the facility ranged in age from
               10 to 17 years old. They had diagnoses including
               but not limited to, Major Depressive Disorder,
               ADHD, PTSD, Parent-Child Relational Problem,
               Generalized Anxiety Disorder, Autism Spectrum
               Disorder, and Disruptive Mood Dysregulation
               Disorder. Diagnoses were not received for all
               clients. Clients had histories of self harm, physical
               aggression and elopement. The facility
               implemented a level of supervision that required
               clients to be within arms length of staff at all
               times, including during sleep times. The facility
               began using the bivy system in the fall of 2023 for
               new admissions and for clients on the highest
               level of supervision, assigned proximity (AP).
               Previously the facility used a system known as
               the burrito or taco. If during the night a client
               needed to use the bathroom, they would have to
               ask staff to let them out of the sleeping system
               they were assigned to while on AP. Using the
               burrito or taco, staff were sleeping on top of a
               piece of plastic that was wrapped over/around the
               clients' body. During the use of these systems,
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               clients were not provided dignity or respect as
               evidenced by having to sleep on the floor of the
               cabin with a thin sleeping pad, surrounded by
               plastic that was tied at two ends, while the other
               clients in the same cabin were able to sleep on
               bunk beds with mattresses. The staff assigned to
               sleep within arms reach of staff also slept on a
               mattress instead of a thin sleeping pad. Also at
               times, the complete outer shell was zipped up to
               fully enclose the client inside the bivy. The facility
               failed to implement their own policies and
               protocols regarding increased sleeping
               precautions by not having same sex staff sleep
               within arms reach of clients at least 23 times
               between 11-18-23 to 12-28-23 with 5 different
               clients. The facility's policy on safety levels stated
               that AP would range between 18 - 72 hours.
               Eleven clients were also on AP for 72 hours or
               longer, with 2 of those clients on AP for 72 hours
               more than once, FC #19 for 2 times and FC #24
               for 4 times. The direct care staff could increase
               levels of supervision, including moving clients up
               to the AP level but could not move them down.
               The therapists had control of moving clients off of
               AP status. The therapists were aware of the bivy
               system and assigned it, but did not have working
               knowledge of the bivy system and how it worked
               or how it was implemented. Parents were not
               made explicitly aware of the use of the enhanced
               supervision for sleeping for all new clients at
               admission. The Founder/ED, who supervised the
               ED, did not have first hand knowledge of the bivy
               system. The ED felt the bivy gave a better sense
               of privacy and easier to digest than the burrito.

               This deficiency constitutes a Type B rule violation
               which is detrimental to the health, safety, and
               welfare of the clients and must be corrected
               within 45 days.

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